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Annette Fierro Final Designations
Designation List Report




            Fierro, Annette                          2022-08-11



            Full Final Designations                     03:02:13
            TOTAL RUN TIME                             03:02:13




                                                                     ID: AF_FINAL
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 5:10 - 20:19       Fierro, Annette 2022-08-11                                   00:16:13   AF_FINAL.1
                    5:10   Q. Good morning, Professor Fierro.
                    5:11   A. Good morning.
                    5:12   Q. As you know, we are here to take your
                    5:13      video deposition which will be presented to the
                    5:14      jury in Cathrine Veikos's civil rights trial in
                    5:15      January.
                    5:16      It is my understanding that you
                    5:17      will be out of the Philadelphia region at that
                    5:18      time. Can you please tell us where you will be?
                    5:19   A. Yes. I'm on academic sabbatical as of
                    5:20      July 1, so right now. And I have a year-long
                    5:21      sabbatical. I will be in Paris for most of that
                    5:22      time where I will be completing a book.
                    5:23   Q. What is your current position at Penn?
                    5:24   A. I am an associate professor of
                    6:01      architecture. I have been at Penn since 1993.
                    6:02      Since -- before last year, I was the associate
                    6:03      chair for eight years. I'm the director of
                    6:04      admissions and of advising. I'm the chair of
                    6:05      the master's thesis program. I'm the chair of
                    6:06      the first year curriculum. And I'm the chair of
                    6:07      the study abroad program.
                    6:08   Q. Thank you.
                    6:09      When you said you were associate
                    6:10      professor of architecture, is that with tenure?
                    6:11   A. Yes, that is with tenure. I'm fully
                    6:12      tenured on the standing faculty.
                    6:13   Q. Okay. And the department of
                    6:14      architecture is in what school within the
                    6:15      university?
                    6:16   A. The department of architecture is in the
                    6:17      Graduate School of Design, now known as the
                    6:18      Weitzman School of Design. It has four
                    6:19      departments: Landscape architecture, fine arts,
                    6:20      city planning. It has a program in preservation
                    6:21      and a program in visual studies.
                    6:22   Q. Thank you.
                    6:23      When you came to Penn, did you come
                    6:24      as an assistant professor on a tenure-track?

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              7:01   A. I did.
              7:02   Q. And were you promoted to associate
              7:03      professor with tenure --
              7:04   A. Yes, I was.
              7:05   Q. -- in the department?
              7:06   A. Uh-huh.
              7:07   Q. Can you describe your area of focus?
              7:08      And keep in mind throughout your testimony
              7:09      today, I think that the audience for your
              7:10      testimony are people who are not college
              7:11      professors or architects.
              7:12   A. It is challenging.
              7:13   Q. Yes.
              7:14   A. Architecture is a synthetic discipline.
              7:15      Okay? We are a professional school of
              7:16      architecture, which means that most of our
              7:17      students are going to receive a master's degree
              7:18      in architecture, and a er internships they will
              7:19      be licensed architects.
              7:20      Architecture is a field that
              7:21      combines technology. Right, you have to know
              7:22      how to build buildings. It combines history and
              7:23      theory. You need to know how to think about
              7:24      buildings. You need to know about the history
              8:01      of architecture. We are a very old academic
              8:02      discipline. And we have to be able to think
              8:03      about how we make drawings. So visual studies.
              8:04      And a large part of our curriculum
              8:05      is dedicated to design studios. So a very kind
              8:06      of hands on, one-on-one intensive teaching, yes.
              8:07   Q. And do you have a particular focus
              8:08      within that?
              8:09   A. Well, I lead design studios, certainly.
              8:10      I've been the coordinator of design studios for
              8:11      the entire time I've been at Penn. So I'm a
              8:12      leader in design. But my writing, I would say
              8:13      that my professional work, I work as a scholar
              8:14      and/or writer on technology and culture.
              8:15      So it migrates between how people
              8:16      use technology, how architects use technology,
              8:17      how it is received in the cultural sphere. How
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              8:18        the design and building of materials in
              8:19        particular, and structure aﬀect how architects
              8:20        think about buildings and how they react in a
              8:21        political context.
              8:22    Q. Thank you.
              8:23        You mentioned a couple of diﬀerent
              8:24        specialties or areas of focus, and I just want
              9:01        to make sure the jury understands what they each
              9:02        are.
              9:03        So when you say technology within
              9:04        architecture, can you help us understand what
              9:05        that means?
              9:06    A. Sure. That's complicated. Right?
              9:07    Q. Okay.
              9:08    A. Because that's really where I sort of
              9:09        probe and I actually ask myself what is
              9:10        technology in architecture.
              9:11        I mean technology for a
              9:12        professional architect means that you know about
              9:13        structures, you know about how materials go
              9:14        together. You know especially not how to build
              9:15        yourself, but how to instruct other people how
              9:16        to build and you know about the economies of
              9:17        that.
              9:18        I work in areas of how culture
              9:19        receives technology. So, for example, right now
              9:20        I just finished a book on buildings that were
              9:21        done in London by a group of architects known as
              9:22        the high tech architects where the built product
              9:23        looked like a machine.
              9:24        So it both employs technology, but
              10:01       it is also culturally read as a technological
              10:02       piece.
              10:03       Does that make sense? Yes, I hope
              10:04       so.
              10:05   Q. Yes. At a high level.
              10:06   A. It is very nuanced. I know, I know.
              10:07   Q. I appreciate that. I think it is very
              10:08       helpful.
              10:09   A. Yeah.
              10:10   Q. And the other thing I think you
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              10:11      mentioned was visual studies?
              10:12   A. Right.
              10:13   Q. Can you describe what you mean when you
              10:14      refer to visual studies?
              10:15   A. Right. Well, architecture has, as a
              10:16      discipline, has a body of work, because we don't
              10:17      build, we only draw what we are going to build,
              10:18      and those kinds of drawings, I mean there are
              10:19      technical drawings, like working drawings,
              10:20      construction drawings. That's one form of
              10:21      drawing.
              10:22      But communicative drawings like
              10:23      what a building will look like, like
              10:24      representational drawings also has a history of
              11:01      its own.
              11:02      Penn especially is based in the old
              11:03      French Beaux-Arts program where they were known
              11:04      for their magnificent water color drawings. And
              11:05      so you could say that the building that they
              11:06      drew was about how it would be built and what it
              11:07      would look like, but the history of that drawing
              11:08      was on its own very important to us.
              11:09   Q. And the other things I think you
              11:10      mentioned, you mentioned preservation. Is that
              11:11      a separate --
              11:12   A. Right.
              11:13   Q. -- area of focus?
              11:14   A. It is a separate area. That's actually
              11:15      quite a large program. It's a very prestigious
              11:16      program for us.
              11:17      Preservation is basically, you
              11:18      know, historic preservation of important
              11:19      buildings. So it has a lot of history to it.
              11:20      It also has a drawing component to it. It has a
              11:21      lot of technology, which is surprising.
              11:22      But yeah, you have to know about,
              11:23      you know, how grout works in historical
              11:24      buildings and the kind of chemical decomposition
              12:01      of surfaces and, you know, it has its own body
              12:02      itself, yeah.
              12:03   Q. And I think you mentioned also history
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              12:04      and theory.
              12:05   A. Yes.
              12:06   Q. I don't know whether they go together.
              12:07      Can you describe what you are referring to when
              12:08      you make reference to that?
              12:09   A. Yeah. This is a kind of an academic,
              12:10      it's the most academic of the work that we do,
              12:11      meaning that it is centered on writing. And
              12:12      there is a capacity of history, right, you know,
              12:13      facts and figures and who did this, who did
              12:14      that, when they did this, how it followed.
              12:15      Certain movements in architecture.
              12:16      Theory is most, is more about
              12:17      challenging perceived notions of that history.
              12:18      Debating, speculating about the role of this or
              12:19      that in the profession or in drawing or in the
              12:20      history itself.
              12:21      And it sort of varies right now.
              12:22      Gender studies is actually very important in
              12:23      history theory as is, I mean the whole Black
              12:24      Lives Matter took its role in history theory.
              13:01      And so we're looking at how race plays a role in
              13:02      the built environment, certainly in an urban
              13:03      dimension, but also, you know, in diﬀerent
              13:04      capacities of what we do, how we interact with
              13:05      the public.
              13:06   Q. And what about design, when I think of
              13:07      architects I think of their designing.
              13:08   A. Right.
              13:09   Q. But is design its own specialty within a
              13:10      school of architecture?
              13:11   A. Well, the design studios are where it
              13:12      all comes together. You know, it is where you
              13:13      synthesize technology, you synthesize history,
              13:14      theory, and you actually, you know -- a design
              13:15      studio meets three times a week. They say for
              13:16      four hours. It is more like six hours. And you
              13:17      basically give a hypothetical problem and the
              13:18      students make hypothetical solutions to that.
              13:19      And so, you know, it is not always
              13:20      buildable, but it is always, it always
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              13:21      speculates about something fascinating. It is a
              13:22      really -- it's a wonderful discipline,
              13:23      especially in the university.
              13:24   Q. Thank you.
              14:01      So I want to talk about tenure.
              14:02   A. Okay.
              14:03   Q. So in addition to going through the
              14:04      tenure review process yourself at Penn within
              14:05      the department of architecture, have you
              14:06      participated in the tenure review process for
              14:07      other candidates?
              14:08   A. I have.
              14:09   Q. Okay.
              14:10   A. All of them since I was tenured I have
              14:11      participated in. In diﬀerent capacities. I
              14:12      have been a mentor. I have written letters for
              14:13      many people. I have always been in meetings. I
              14:14      think it is a very primary role of an
              14:15      academician.
              14:16   Q. Again, for those of us who aren't
              14:17      academic professors, can you describe what
              14:18      tenure means?
              14:19   A. Tenure, it has a kind of mythology of
              14:20      its own, doesn't it? Okay.
              14:21      Historically tenure was an idea
              14:22      that came up in the 60s, and it was to safeguard
              14:23      people in the academy, safeguard their freedom
              14:24      of speech. So that they could say anything that
              15:01      was contentious politically that was not agreed
              15:02      to by, you know, the upper levels of the
              15:03      faculty. People were given a lifetime contract.
              15:04      Right?
              15:05      And so to get that lifetime
              15:06      contract, they thought it wise that there be a
              15:07      probationary period to see who the person was,
              15:08      how they taught, what they could do before
              15:09      giving them that lifetime contract.
              15:10      As it has migrated, it has become
              15:11      more of a right of passage, and now there's a
              15:12      certain body of work that you are expected to
              15:13      present for tenure review. People want to see
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              15:14      that you are going to be a good teacher, that
              15:15      you are going to be a good colleague, that you
              15:16      are going to produce some kind of work, be it
              15:17      writing or you are going to design buildings, or
              15:18      even now you are going to do drawings. So that
              15:19      production varies that you are engaged by.
              15:20   Q. All right. And you mentioned the
              15:21      probationary period.
              15:22   A. Yes.
              15:23   Q. So is that the period during which you
              15:24      are considered for tenure, I mean the
              16:01      probationary period?
              16:02   A. Yes.
              16:03   Q. And is that a set number of years?
              16:04   A. Yes. It varies from individual to
              16:05      individual. Typically it is six years where you
              16:06      are evaluated for tenure. I mean the way the
              16:07      contract is set up, you are evaluated a er your
              16:08      fi h year. Well, actually, no, you are
              16:09      evaluated at the midpoint. Then you are
              16:10      evaluated at the fi h year. And then you have
              16:11      a year's grace where if you are turned down you
              16:12      have a year to find another contract somewhere.
              16:13      There are people who decide not to
              16:14      go up through fi h year, but to go up through
              16:15      six year for a number of reasons.
              16:16      I did that because my book wasn't
              16:17      out yet and I wanted it to be further along
              16:18      before I was reviewed.
              16:19   Q. You mentioned the midpoint.
              16:20   A. Yes.
              16:21   Q. Is that the time where there is
              16:22      consideration for reappointment?
              16:23   A. Yes, that's called reappointment and all
              16:24      of the above is evaluated and you are, you are
              17:01      counseled a er that on what the faculty, and it
              17:02      is mostly an internal review. So you are
              17:03      counseled on the things that you need to focus
              17:04      on, what you need to do more of. If you need to
              17:05      improve your teaching, you know, you are told.
              17:06      We have assessment forms that the students fill
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              17:07      out and that's, you know, very concrete.
              17:08      Basically, you know, what you need
              17:09      to be ready to be tenurable by our standards
              17:10      within the department, but as well as
              17:11      university.
              17:12   Q. Is it correct that the tenure review and
              17:13      probationary process is an up or out process?
              17:14      In other words, if you don't get tenured, do you
              17:15      have to leave?
              17:16   A. Yes. By university regulations, you
              17:17      have to leave.
              17:18   Q. Okay. During your probationary period
              17:19      at Penn, did you ask that that period, that
              17:20      probationary period be extended?
              17:21   A. Yes.
              17:22      When I was going up for tenure, I
              17:23      had -- okay, my first child was born in 1994 and
              17:24      my second child was born in 1996. At that time,
              18:01      there was no policy to have your clock extended,
              18:02      have that probationary period extended. And for
              18:03      me, my first child had health problems. He was
              18:04      in the ICU for three weeks and the care required
              18:05      at home was extensive. And I had been given a
              18:06      leave by the department from teaching, but my
              18:07      tenure clock was essentially running. So I was
              18:08      expected to be producing work while I was under
              18:09      this kind of duress.
              18:10      And so I asked that the clock be
              18:11      stopped because it just didn't seem possible.
              18:12      And I was told then by the department that this
              18:13      was a university regulation and I would have to
              18:14      petition the university.
              18:15      I did, and I was told that I should
              18:16      produce a body of research that compared pure
              18:17      institutions. And I tried, but that was also
              18:18      impossible. I was the only woman, I mean there
              18:19      are very few women in architecture schools
              18:20      across the country where -- certainly there are
              18:21      a few women, but there are even fewer women
              18:22      where they were pregnant.
              18:23      And so it was very hard even to get
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              18:24      names and to find out what the schools were
              19:01      doing because that, you know, required a kind of
              19:02      research eﬀort.
              19:03      Finally the university took it up
              19:04      and they embraced it and they came out with a
              19:05      policy that would grant a full year extension of
              19:06      the probationary period, understanding that this
              19:07      was extremely diﬀicult, and trying to put us on
              19:08      an equal footing with the rest of our
              19:09      colleagues. They wanted to make it fair for us
              19:10      that chose parenthood to become equal with our
              19:11      other colleagues who hadn't.
              19:12      So in fact they gave me the two
              19:13      years -- I'm not quite sure what year it was,
              19:14      when the policy came out -- but I was given two
              19:15      years a er like, I think 1999, 2000, so before
              19:16      I went up for tenure, they added two years to my
              19:17      contract.
              19:18   Q. We will look at, we are going to look at
              19:19      the policy and that might refresh your
              19:20      recollection about the timing, but you mentioned
              19:21      that you were, in order to advocate for this
              19:22      policy, you were told to do some research among
              19:23      peer institutions.
              19:24   A. Right.
              20:01   Q. Who was it that directed you to do that?
              20:02   A. David Leatherbarrow asked me to do that.
              20:03   Q. What was his role at the time?
              20:04   A. He was the chair of the department at
              20:05      the time.
              20:06   Q. All right, we are going to look at an
              20:07      exhibit.
              20:08      I am going to hand you what has
              20:09      already been marked as P-1. I will hand that
              20:10      down there.
              20:11      This document has a title "Penn
              20:12      Policies Relating to Junior Faculty Members'
              20:13      Career-Family Balance."
              20:14      Do you recognize that as something
              20:15      that was published at Penn?
              20:16   A. Yes. This is published in the Almanac,
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                 20:17      which is our faculty publication. This becomes
                 20:18      a kind of record of policies as they are
                 20:19      activated currently.
 20:23 - 30:20   Fierro, Annette 2022-08-11                                     00:09:52   AF_FINAL.2
                 20:23      BY MS. UEBLER:
                 20:24   Q. Okay, so the date on this particular
                 21:01      publication is February 28th, 2006.
                 21:02      When you look at this, can you take
                 21:03      a look at the second page, which talks about an
                 21:04      "Approved Revision" at the top there on the
                 21:05      right-hand column.
                 21:06   A. Yes.
                 21:07   Q. To the "Policy on Extension of the
                 21:08      Probationary Periods that Apply to Granting of
                 21:09      Tenure or Promotion to Associate Professor."
                 21:10      I don't necessarily need you to
                 21:11      read it for us, Professor, but can you tell us
                 21:12      the circumstances when the extension is
                 21:13      available to a tenure candidate?
                 21:14   A. It is available before the tenure
                 21:15      review, and it is -- I am trying to be
                 21:16      absolutely correct here.
                 21:17   Q. Sure.
                 21:18   A. So the language is very careful. I'm
                 21:19      not quite sure if it -- I think it happens at
                 21:20      the point of the child's birth now, or very soon
                 21:21      a er. And where that falls relative to
                 21:22      reappointment I'm not entirely sure about.
                 21:23   Q. And I was asking an easier question.
                 21:24   A. Okay.
                 22:01   Q. Which is so the extension applies -- you
                 22:02      talked about it in the context of having your
                 22:03      own child.
                 22:04   A. Right.
                 22:05   Q. And so if we look at this exhibit in
                 22:06      P-1, the second page, A(1) talks about the
                 22:07      situation where a child is adopted or born --
                 22:08   A. Right.
                 22:09   Q. -- and placed into the caregiver's
                 22:10      family?

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              22:11   A. Right.
              22:12   Q. And then there are other reasons.
              22:13   A. Right.
              22:14   Q. Are you familiar with what they are?
              22:15   A. Yes, uh-huh. Yes.
              22:16   Q. And is it that in the event of a serious
              22:17      health condition either for the candidate or a
              22:18      family member?
              22:19   A. Right, exactly.
              22:20   Q. Okay.
              22:21   A. Uh-huh.
              22:22   Q. So in addition to extending the years of
              22:23      the probationary period, are there other
              22:24      elements of the policy that are important to the
              23:01      tenure review process?
              23:02   A. I believe this came a er the notice
              23:03      that this should be made very clear in the
              23:04      letters to external reviewers. But, you know,
              23:05      given that letters would be sent out with the
              23:06      kind of -- with the candidate's term of
              23:07      appointment, that it wouldn't look like
              23:08      additional years had been added. That in fact
              23:09      the probationary period simply had been
              23:10      extended, but technically it was still the same,
              23:11      yeah.
              23:12   Q. So let's look at, on this exhibit on
              23:13      Page 2 there is a Section D, which we can look
              23:14      at. I am just going to take a moment because it
              23:15      is a little artificial here, but we will be
              23:16      showing this to the jury as well at the time.
              23:17   A. Right.
              23:18   Q. That section, is that the section of the
              23:19      policy that addresses the question you just were
              23:20      talking about?
              23:21   A. Yes, yes.
              23:22   Q. Okay. And we will talk in a little bit
              23:23      about external reviewers, but is it fair to say
              23:24      that those people who are notified are people
              24:01      who are giving feedback about a candidate's
              24:02      tenure case?
              24:03   A. Yes, uh-huh.
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              24:04   Q. Okay.
              24:05      All right, let's talk about
              24:06      Cathrine Veikos.
              24:07   A. Okay.
              24:08   Q. This case is about her and we should
              24:09      talk about her.
              24:10   A. Okay.
              24:11   Q. Did you know Cathrine before she came to
              24:12      work at Penn?
              24:13   A. I had met her a couple of times in
              24:14      Paris, in fact. She was working there and I was
              24:15      teaching studios for Georgia Tech and my
              24:16      colleague knew of her. I don't know how. But
              24:17      he invited her to sit in on student reviews.
              24:18      And this is at the end of the semester, the
              24:19      student presents a final project and usually
              24:20      four or five people are invited to talk about
              24:21      the work. So when I say a student review,
              24:22      that's what I'm talking about.
              24:23   Q. Okay.
              24:24   A. So I think she sat on one or maybe two.
              25:01      I'm not sure.
              25:02   Q. Okay.
              25:03   A. Yeah.
              25:04   Q. Did you participate in the faculty
              25:05      discussions when Professor Veikos was originally
              25:06      appointed to a tenure-track position?
              25:07   A. Yes, I did.
              25:08   Q. Okay. In what field was she appointed?
              25:09   A. She was appointed, and I remember the
              25:10      discussion very clearly because this was -- it
              25:11      was, what, '98? No.
              25:12   Q. 2003.
              25:13   A. 2003, okay. See, I am very shaky. This
              25:14      was a long time ago.
              25:15      We had been hit by the introduction
              25:16      of computers and digital drawing and we realized
              25:17      that we really needed to focus on that. We were
              25:18      largely still hand drawing, and it became very
              25:19      clear that given now the advent of digital
              25:20      medias that everything had changed.
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              25:21      So we knew we had to focus on that
              25:22      and we knew we had to hire faculty that could
              25:23      focus on that. So she was hired in answer to
              25:24      that in visual studies.
              26:01   Q. To your knowledge, prior to coming to
              26:02      Penn, did Professor Veikos work as a practicing
              26:03      architect?
              26:04   A. Yes. She had a very successful
              26:05      practice, and in fact she had taught a couple of
              26:06      studios at a higher level as a visiting critic.
              26:07      And that's how we first became aware of her,
              26:08      yes.
              26:09   Q. Was it your understanding that Professor
              26:10      Veikos stopped her private architecture practice
              26:11      when she came to Penn?
              26:12   A. Certainly.
              26:13   Q. What was, if you recall, what was her
              26:14      expected focus of her work for her tenure
              26:15      probationary period at the time of her
              26:16      tenure-track appointment?
              26:17   A. Well, because she was appointed in
              26:18      visual studies, there could have been several
              26:19      diﬀerent routes to take. I think her focus
              26:20      from the beginning was academic. And having
              26:21      taught with her, because we both taught
              26:22      beginning students, and so we were teaching
              26:23      alongside each other, you know, me and beginning
              26:24      studio curriculum and she in beginning visual
              27:01      studies curriculum. But we wanted to
              27:02      cross-fertilize. So we worked together on the
              27:03      curriculum, the drawing types, how the drawing
              27:04      types would feed into the studio.
              27:05      And her focus was always that it
              27:06      wasn't just about the techniques of drawing,
              27:07      like how you draw, what you draw, what line
              27:08      wave, what color, you know. Her focus was on
              27:09      the history of drawing and how that, you know,
              27:10      made you think diﬀerently about buildings and
              27:11      how that made you think diﬀerently about what
              27:12      you were doing.
              27:13   Q. Okay.
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              27:14   A. And that has its own kind of historical
              27:15      trajectory, some kind of theoretical trajectory.
              27:16      I mean visual studies is -- I mean
              27:17      it's an oﬀicial program in the university
              27:18      because I think, you know, certainly the kind of
              27:19      advent of digital medias has prompted that we
              27:20      all think about very carefully how images aﬀect
              27:21      all of the things that we do, all of the things
              27:22      that we think about.
              27:23      So visual studies at Penn has its
              27:24      own diﬀerent cross-disciplinary program where
              28:01      you get -- I know that five of our fine arts
              28:02      faculty is in that program. I also know that
              28:03      there is a neuro biologist that looks at vision.
              28:04      I also know that there is a few history of
              28:05      science people.
              28:06      So it has always been
              28:07      cross-disciplinary. It is a kind of fertile
              28:08      field of kind of growing speculations about how
              28:09      this works.
              28:10   Q. Okay, but it was your understanding that
              28:11      that was her focus from the beginning of her
              28:12      tenure-track and that she wouldn't continue as a
              28:13      practicing architect?
              28:14   A. No.
              28:15   Q. Okay.
              28:16   A. Yeah.
              28:17   Q. How would you describe your relationship
              28:18      with Cathrine Veikos?
              28:19   A. Well, we were, you know, the only women
              28:20      faculty. I mean with Marion Weiss, but Marion
              28:21      Weiss is a practitioner. She had her -- she is
              28:22      a very successful practitioner. She has an
              28:23      oﬀice in New York. She was actually really
              28:24      never there except to teach her courses. So we
              29:01      were some of the only women on the faculty.
              29:02      So, you know, we naturally became
              29:03      close, especially because we were teaching
              29:04      together the same group of students. And I had
              29:05      a great deal of respect for her orientation so
              29:06      it made it, it made it a productive
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                 29:07       relationship.
                 29:08   Q. We talked about reappointment a little
                 29:09       while ago.
                 29:10       Did you participate in the faculty
                 29:11       discussion when Professor Veikos was considered
                 29:12       for reappointment --
                 29:13   A. Yes.
                 29:14   Q. -- during tenure? Okay.
                 29:15       And were you a member of the
                 29:16       tenured faculty at that time?
                 29:17   A. Yes, I was, uh-huh.
                 29:18   Q. Who was the chair of the architecture
                 29:19       department at the time of reappointment, do you
                 29:20       recall?
                 29:21   A. Bill Braham, I believe, was acting
                 29:22       chair.
                 29:23   Q. Let's look at a document and maybe that
                 29:24       will help.
                 30:01   A. Okay, okay. I am sorry.
                 30:02   Q. No, that is okay. I want to talk about
                 30:03       this anyway.
                 30:04   A. This is now 20 years ago.
                 30:05   Q. I want to look at Exhibit P-2.
                 30:06   A. Okay.
                 30:07       So David was. Okay. So David was.
                 30:08       So Bill was the chair at the appointment, at the
                 30:09       tenure assessment, and Bill -- and David was the
                 30:10       chair at the reappointment.
                 30:11   Q. Let's look at the letter first.
                 30:12   A. Oh, Detlef was, I am sorry.
                 30:13   Q. So P-2, why don't you take a look at it
                 30:14       for a minute and tell us if you can identify
                 30:15       what this letter is?
                 30:16   A. This letter would have been the chair's
                 30:17       summation of the discussion of the faculty when
                 30:18       Cathrine was assessed at the midpoint. And this
                 30:19       letter, it goes in diﬀerent stages. This
                 30:20       letter --
 31:03 - 37:13   Fierro, Annette 2022-08-11                                      00:06:53   AF_FINAL.3
                 31:03       BY MS. UEBLER:

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              31:04   Q. So I did want to talk about, so let's
              31:05      just clarify one thing. So the person who was
              31:06      the chair of the department at the time of
              31:07      Cathrine's reappointment was who?
              31:08   A. Detlef Mertins.
              31:09   Q. Okay.
              31:10   A. Yes. I am sorry for that mistake.
              31:11   Q. That is okay. All these letters sort of
              31:12      run together, so.
              31:13   A. Yes, yes.
              31:14   Q. So if we look at this letter, and again,
              31:15      I am just going to take a moment because we are
              31:16      going to be -- you are seeing it, but we are
              31:17      going to want to make sure the jury sees it at
              31:18      the time as well.
              31:19   A. Okay.
              31:20   Q. So this is a letter from February of
              31:21      2006; right?
              31:22   A. Right.
              31:23   Q. In the top paragraph it identifies who
              31:24      was president at that meeting. Is that your
              32:01      recollection?
              32:02   A. Yes, uh-huh.
              32:03   Q. Okay.
              32:04      The letter is from the department
              32:05      of architecture to who, what is the purpose of
              32:06      the letter?
              32:07   A. It might be helpful to describe the
              32:08      tenure and the assessment procedures.
              32:09   Q. We are going to talk about that. This
              32:10      is just the reappointment.
              32:11   A. Okay.
              32:12   Q. So I think maybe just talk about the
              32:13      reappointment itself and then definitely we are
              32:14      going to talk about the tenure process.
              32:15   A. Okay.
              32:16   Q. So with the reappointment, a er the
              32:17      department reviews it, is it reviewed a er
              32:18      that?
              32:19   A. Yes.
              32:20   Q. Okay.
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              32:21   A. The department discusses the candidate.
              32:22      Both procedures, really. The chair writes a
              32:23      summary letter and records a vote. And then
              32:24      this letter gets put with the candidate's
              33:01      material.
              33:02      And it goes to the next stage of
              33:03      assessment, is the personnel committee, which is
              33:04      faculty from the other departments in the
              33:05      school. And then they look at it, they assess
              33:06      it, they vote, and then it goes to the dean.
              33:07   Q. All right. So with this, this meeting
              33:08      that is the subject of Exhibit P-2, was the vote
              33:09      for Professor Veikos's reappointment recorded
              33:10      here?
              33:11   A. Yes, it was a unanimous vote.
              33:12   Q. Okay. So all of the members of the
              33:13      standing faculty voted in favor of her
              33:14      reappointment?
              33:15   A. Yes, uh-huh.
              33:16   Q. There are some specific aspects of this
              33:17      letter I wanted to ask about. There is a
              33:18      reference at the bottom of the third paragraph
              33:19      here that says, "During the past few years,
              33:20      Cathrine's teaching last broadened beyond
              33:21      digital media and representation toward an
              33:22      expanded range of interests in materials,
              33:23      construction, art practices and exhibition
              33:24      design. This reflects a shi in her research."
              34:01      Did you have an understanding at
              34:02      the time of her reappointment discussions that
              34:03      she was shi ing her focus?
              34:04   A. No. I would probably disagree with this
              34:05      assessment. I think Cathrine was drawing her
              34:06      previous experience in to converge with her
              34:07      visual studies observations. So she was -- I
              34:08      know this is really arcane and I apologize for
              34:09      this. It is diﬀicult for anyone outside the
              34:10      field to understand these nuances. But I think
              34:11      what she was doing is she was looking at
              34:12      buildings, drawings of buildings, especially of
              34:13      particular people, and talking about how the
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              34:14      building itself could be thought of as a product
              34:15      of a kind of visual study, a visual, a visual
              34:16      artifact. So she was looking at buildings as if
              34:17      they were drawings.
              34:18   Q. What was Detlef Mertins background, what
              34:19      was his area of focus?
              34:20   A. Detlef Mertins was a well-known
              34:21      historian. Detlef Mertins was a very well
              34:22      respected historian, but he came from a rigorous
              34:23      background that looked at history as his central
              34:24      practice. He is self-identified. He describes
              35:01      himself very proudly as a historian.
              35:02   Q. Let's take a look at a reference that
              35:03      Professor Mertins made in the second page of
              35:04      this letter, so that long middle paragraph about
              35:05      halfway down there is a sentence that
              35:06      reads, "However, many faculty expressed concerns
              35:07      about their recent shi in her" -- meaning
              35:08      Professor Veikos's -- research to a historical
              35:09      monograph whose scholarly scope goes well beyond
              35:10      the issues of representation that were her focus
              35:11      previously."
              35:12      Do you have a recollection of what
              35:13      she was working on at the time?
              35:14   A. Yes. She had begun to become very
              35:15      interested in a Brazilian architect, a woman
              35:16      architect named Lina Bo Bardi. And I think her
              35:17      reading of this architect's work was through
              35:18      this kind of philosophy that she was developing
              35:19      about buildings as visual artifacts where the
              35:20      construction of the material and the surfaces
              35:21      worked in a pictorial way so that the building
              35:22      again would be read as image first.
              35:23      Now I think as she started doing
              35:24      the research, she found a piece of writing that
              36:01      Lina Bo Bardi had written that she thought was
              36:02      very important to understanding her work. And
              36:03      she was advised that this could be a very good
              36:04      way to enter the work in a very deep way.
              36:05      And I believe David Leatherbarrow
              36:06      advised her to do that, to look at this piece of
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                 36:07      writing and translate it and then to draw her
                 36:08      own observations and conclusions. Because this
                 36:09      was a piece of writing that had never been
                 36:10      looked at or translated and was not well known.
                 36:11      So that was her first foray into
                 36:12      this architect's work. So she went in to
                 36:13      translate and tried to reevaluate what that
                 36:14      meant.
                 36:15   Q. Is it your understanding, was it at the
                 36:16      time as well, that the work that Professor
                 36:17      Mertins identified as a historical monograph was
                 36:18      in fact that project that she was working on?
                 36:19   A. Yes, it was.
                 36:20   Q. And do you think it was accurate to call
                 36:21      it a historical monograph?
                 36:22   A. No, I don't think so. I think that,
                 36:23      first of all, she's a contemporary architect.
                 36:24      She's not -- it is not like she had a long
                 37:01      history, but it was in the past. But I think
                 37:02      what Cathrine was doing was trying to engage her
                 37:03      way of thinking through this monograph and in
                 37:04      talking about the monograph she had to
                 37:05      contextualize it within what was going on
                 37:06      politically, socially, culturally in Brazil and
                 37:07      Italy where the work took place.
                 37:08      So was she trying to be a
                 37:09      historian? No. But she, and I think like I,
                 37:10      something that we share in common and how we
                 37:11      think about writing about these things, try to
                 37:12      fully contextualize these pieces and what's
                 37:13      going on at the moment.
 38:04 - 42:04   Fierro, Annette 2022-08-11                                     00:04:29   AF_FINAL.4
                 38:04   Q. We talked a little while ago about your
                 38:05      own tenure probationary process and the fact
                 38:06      that you took or were granted a er the fact, in
                 38:07      a sense, extensions of the probationary period.
                 38:08   A. Right.
                 38:09   Q. Do you know whether Professor Veikos
                 38:10      also took an extension of the probationary
                 38:11      period?

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              38:12   A. Yes, she did.
              38:13   Q. For what purpose, did she have a
              38:14      child or --
              38:15   A. For the same, she had a child. She had
              38:16      a child during her probationary period.
              38:17   Q. All right. I want to switch gears a
              38:18      little bit to go into more depth on the process
              38:19      you were talking about --
              38:20   A. Okay.
              38:21   Q. -- in terms of the tenure review.
              38:22      So you talked to us a little bit
              38:23      about what the steps are in reappointment.
              38:24   A. Right.
              39:01   Q. Can you identify the levels of review
              39:02      for tenure?
              39:03   A. Right. Okay, the whole process is
              39:04      telescoping. Because it's assumed that people
              39:05      outside of the discipline are not really going
              39:06      to have the capacity to evaluate the work. So
              39:07      it begins at the most local of levels. So when
              39:08      the department meets to talk about the
              39:09      candidate, the department will talk about the
              39:10      colleague as a colleague. You know, like
              39:11      working relationships. We talk about teaching a
              39:12      lot. We talk about teaching ability. We talk
              39:13      about the service that the candidate has given
              39:14      to the school. And we also talk about the
              39:15      candidate's work.
              39:16      And that work, you know, I think
              39:17      the university correctly asks for a series of
              39:18      objective evaluators. And so the candidate will
              39:19      ask for reviewers that they think are able to
              39:20      respond to the work, are equipped to respond to
              39:21      the work. The chair suggests a number of
              39:22      reviewers that are equipped to respond to the
              39:23      work. And then there are also internal
              39:24      reviewers that talk about the work and the
              40:01      candidate.
              40:02      And so, so the first step is we sit
              40:03      around a table very much like this one, and we
              40:04      talk about the candidate and we talk about -- we
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              40:05    look, usually there's like piles of work on the
              40:06    table and we pass them around. And we assess
              40:07    everything all together. And then the chair --
              40:08    then we take a vote a er -- it is usually a
              40:09    blind vote because it is a very delicate
              40:10    situation. And then we take a vote.
              40:11    And a er that, the chair
              40:12    summarizes the discussion of the faculty and
              40:13    reports the vote to the personnel committee.
              40:14    The personnel committee gets a
              40:15    little bit more distant. Right? Because now
              40:16    these are fine artists, these are landscape
              40:17    architects, and although they are still
              40:18    tangential to architecture, they can't be
              40:19    expected to really know, you know, the content
              40:20    of the work.
              40:21    But they talk, that's when the
              40:22    letters become much more important, because they
              40:23    are the readings of experts to the work itself
              40:24    that they can lean on.
              41:01    That becomes, that assessment is
              41:02    then voted on again, as I said, and then the
              41:03    chair of the personnel committee writes another
              41:04    letter. And all of this goes into the
              41:05    candidate's file and you'll hear that described
              41:06    as a dossier. And so the dossier is just kind
              41:07    of an accumulation of all of the work, of all of
              41:08    the letters from the reviewers, from the two
              41:09    chairs of the departments.
              41:10    That goes to the dean. The dean
              41:11    decides then whether the case is going on. If
              41:12    it goes on, he writes a letter and it goes to
              41:13    the provost committee.
              41:14    So now, now I think the kind of
              41:15    logic of this becomes even clearer because the
              41:16    provost committee is made up of people from all
              41:17    over the university and the deans. So I mean
              41:18    the dean of the law school, for example, is not
              41:19    expected to know the nuances of architectural
              41:20    discourse. That is impossible. There is
              41:21    biologists, there's chemists, there's, you know,
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                 41:22      people from the nursing school. And so they
                 41:23      have to rely on the letters more than the work
                 41:24      itself. Right?
                 42:01      And so a er all of that, a er all
                 42:02      of those bodies vote and assess and talk, the
                 42:03      provost committee takes the final vote and the
                 42:04      candidate is either accepted or denied.
 42:07 - 49:18   Fierro, Annette 2022-08-11                                     00:07:33   AF_FINAL.5
                 42:07      And I want to break down a couple
                 42:08      things. So you talked about certain people who
                 42:09      were reviewing the work.
                 42:10   A. Right.
                 42:11   Q. And one of them, I think you talked
                 42:12      about the external reviewers.
                 42:13   A. Right.
                 42:14   Q. Are they sometimes called extramural
                 42:15      consultants?
                 42:16   A. That's very technical, but I guess.
                 42:17   Q. Okay.
                 42:18   A. We always call them external reviewers.
                 42:19   Q. Okay, great.
                 42:20      So I think it is important to know
                 42:21      who they are and kind of what role they play in
                 42:22      the process, if you can address that.
                 42:23   A. Yeah. They are expected to be people of
                 42:24      very high profiles. They are expected to be
                 43:01      people who know the subject matter that the
                 43:02      candidate is writing on. They are people who
                 43:03      are expected to have significant reputations,
                 43:04      especially in our peer institutions. Because
                 43:05      that becomes very important the higher you go.
                 43:06      Right?
                 43:07   Q. Okay.
                 43:08   A. I think especially, you know, at an Ivy
                 43:09      League school it is important to have Ivy League
                 43:10      external reviewers. That's our conceit.
                 43:11   Q. Sure. And the idea, let me make sure I
                 43:12      understand it, is that these professors at other
                 43:13      universities are reviewing the materials that is
                 43:14      in the candidate's dossier?

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              43:15   A. Right.
              43:16   Q. Okay.
              43:17   A. Right. The candidate collects the
              43:18       dossier and then the chair and the staﬀ of the
              43:19       school send that dossier out to all of the
              43:20       external reviewers, and internal, yeah.
              43:21   Q. Okay. Have you been an external
              43:22       reviewer for candidates?
              43:23   A. I have. I have been an external
              43:24       reviewer.
              44:01   Q. Have you ever declined to review a
              44:02       candidate?
              44:03   A. I have declined to review a candidate.
              44:04   Q. In what circumstance?
              44:05   A. I didn't feel qualified to remark on the
              44:06       subject matter in a way. I mean these are very
              44:07       important documents, so I didn't, you know,
              44:08       think I was qualified.
              44:09   Q. All right. You talked also about the
              44:10       concept of internal reviews.
              44:11   A. Uh-huh.
              44:12   Q. Can you describe who does an internal
              44:13       review and what role they play?
              44:14   A. There are two kind of reviewers.
              44:15       There's an ad hoc committee. Right now we have
              44:16       sort of changed that, it is personnel committee
              44:17       within the department, but it is also like an
              44:18       ad hoc committee. And they objectively review
              44:19       the number of publications, the body of work.
              44:20       And then the internal reviewers
              44:21       come from the faculty and we have to talk about
              44:22       just about everything. The teaching, the
              44:23       colleagueship, the student reviewers, the
              44:24       syllabi, and then the written work or the design
              45:01       work.
              45:02   Q. Okay.
              45:03       All right, and that information or
              45:04       the assessments are put into written letters
              45:05       that are added?
              45:06   A. Yes, uh-huh.
              45:07   Q. All right, so we talked a little bit
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              45:08       about, then, the faculty meeting and the voting
              45:09       that happens.
              45:10       So at the end of a meeting, there
              45:11       is actually a vote amongst the faculty members
              45:12       about whether they approve or don't approve a
              45:13       candidate for tenure?
              45:14   A. Yes, uh-huh.
              45:15   Q. Okay.
              45:16       And then the faculty's assessment
              45:17       of that candidate, how is that then communicated
              45:18       up the chain, is it in a letter?
              45:19   A. Yes, it's in a letter from the chair.
              45:20       So they are responsible for accurately
              45:21       summarizing the discussion of the faculty and
              45:22       then reporting on the vote.
              45:23   Q. Is there a process in place for the
              45:24       members of the faculty to review that letter
              46:01       before it goes up to the next level of review?
              46:02   A. Procedurally, I believe they are asked
              46:03       to circulate a dra . Sometimes it happens.
              46:04       Sometimes it doesn't. That letter does go into
              46:05       a folder that is then available for the faculty
              46:06       to look at.
              46:07   Q. Okay.
              46:08   A. Yeah.
              46:09   Q. A er the faculty meets and votes on a
              46:10       candidate's application for promotion to tenure,
              46:11       are the faculty members involved in the next
              46:12       steps?
              46:13   A. No. A er that point, that's the last
              46:14       we know until the vote of the provost.
              46:15   Q. Okay. All right, with respect to the
              46:16       personnel committee --
              46:17   A. Right.
              46:18   Q. -- who populates the personnel
              46:19       committee? And is that a committee that is
              46:20       school wide --
              46:21   A. Yes.
              46:22   Q. -- as opposed to -- okay.
              46:23   A. It is school wide and it is full
              46:24       professors that sit on that committee.
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              47:01   Q. Okay. So it could be, if it is a tenure
              47:02       candidate in architecture, it could be full
              47:03       professors from architecture --
              47:04   A. Yes.
              47:05   Q. -- that serve?
              47:06   A. Yes.
              47:07   Q. Okay. All right.
              47:08       Let's focus again on the department
              47:09       of architecture because that's where Cathrine
              47:10       was considered.
              47:11       What is your understanding of how
              47:12       much in terms of publications a tenure candidate
              47:13       must produce in order to be promoted with tenure
              47:14       at Penn?
              47:15   A. This is not a, this is not a concrete
              47:16       list. In fact, I think Penn goes to an
              47:17       extraordinary length not to have a concrete list
              47:18       because they want to have leeway in subjectively
              47:19       evaluating the candidate.
              47:20       But I would say a typical package
              47:21       would be a dozen or so peer-reviewed articles.
              47:22       And at Penn for someone writing in an academic
              47:23       field, you are expected to have a book which has
              47:24       been accepted by a publisher for publication by
              48:01       an academic press. So a peer-reviewed press.
              48:02   Q. Okay. Are there higher expectations for
              48:03       people in certain areas of focus or people with
              48:04       diﬀerent educational backgrounds?
              48:05   A. Yes. As time has gone by, if you have a
              48:06       Ph.D., and so this would be, typically be
              48:07       history theory or people who have doctorates in
              48:08       technology of some kind, you are expected to
              48:09       publish your dissertation and then also have a
              48:10       second book accepted or almost ready to be
              48:11       submitted, but almost totally produced, yes.
              48:12   Q. Okay. And what is the basis for your
              48:13       understanding of what that standard of
              48:14       production is?
              48:15   A. That's a kind of funny thing.
              48:16   Q. Okay.
              48:17   A. I was taken aside by a full professor
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                 48:18      when I first arrived at Penn. His name is Marco
                 48:19      Frascari. He is no longer there. He was a
                 48:20      very, you know, wonderful colleague who said,
                 48:21      you know, that you have to have a book. If you
                 48:22      don't have a book, you will not get tenure.
                 48:23      So that was, that way, anyway, the
                 48:24      inside scoop, but it was just sort of well-
                 49:01      acknowledged reality, yeah.
                 49:02   Q. At the time of your own tenure review,
                 49:03      did you have a single-authored book published?
                 49:04   A. I had a book accepted by MIT Press which
                 49:05      was then being -- it was going the last day to
                 49:06      graphic design. So I had a contract, I had
                 49:07      reviewers. I had the graphic design almost
                 49:08      done. And so it was done. But even then I had
                 49:09      to put the contract in and I had to prove all
                 49:10      kinds of things, but yeah.
                 49:11   Q. And it had not yet been published?
                 49:12   A. It had not yet been published.
                 49:13   Q. Okay. I want to talk a little bit about
                 49:14      the records, publication records of the other
                 49:15      tenured candidates where you participated in
                 49:16      voting on their tenure reviews --
                 49:17   A. Okay.
                 49:18   Q. -- in the department.
 60:09 - 68:08   Fierro, Annette 2022-08-11                                    00:07:38   AF_FINAL.6
                 60:09      All right, this is Exhibit P-5.
                 60:10      Can you tell us whose department
                 60:11      letter and CV at tenure review this exhibit
                 60:12      relates to?
                 60:13   A. This relates to the promotion of Ali
                 60:14      Rahim to associate professor with tenure, and
                 60:15      that year was 2006.
                 60:16   Q. Did you participate in the facility
                 60:17      vote?
                 60:18   A. Yes, I did.
                 60:19   Q. Who was the department chair at the
                 60:20      time?
                 60:21   A. David Leatherbarrow was the
                 60:22      department -- no, no. I'm sorry. Detlef

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              60:23       Mertins was the department chair.
              60:24   Q. Okay.
              61:01   A. Right.
              61:02       I am sorry about that, but David
              61:03       has been chair for several times. He has been
              61:04       interim chair. It is a kind of an interwoven
              61:05       history.
              61:06   Q. Sure, no problem.
              61:07   A. So I am sorry to make a mistake.
              61:08   Q. Thank you for clarifying.
              61:09   A. Right.
              61:10   Q. What is Ali Rahim's field or
              61:11       subspecialty?
              61:12   A. Ali Rahim is a practitioner. He has an
              61:13       oﬀice. He is sort of known as an experimental
              61:14       practitioner. For the first few years he didn't
              61:15       do any buildings. He did drawings. He did
              61:16       designs of things that might be built, would be
              61:17       built.
              61:18       It hasn't been until very recently
              61:19       that he started building quite a bit in China.
              61:20   Q. Okay.
              61:21   A. Yeah.
              61:22   Q. And Professor Rahim's gender is?
              61:23   A. Male.
              61:24   Q. I want to look at the letter itself,
              62:01       which is, I guess it is the second page of P-5.
              62:02       The first paragraph.
              62:03       What was the vote of the faculty
              62:04       for Professor Rahim's tenure review?
              62:05   A. Could you direct me to where?
              62:06   Q. Sure.
              62:07   A. Oh, yes. Six in favor and three
              62:08       against.
              62:09   Q. Okay. And did you vote -- what was your
              62:10       vote in this case, if you recall?
              62:11   A. I voted in favor.
              62:12   Q. There is a reference in the middle of
              62:13       the second paragraph of that same letter. It
              62:14       says, "He has authored a monograph on his work,
              62:15       Catalytic Formations.
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              62:16      Is it your understanding that that
              62:17      was the single-authored publication that he had
              62:18      as of the time of the tenure review?
              62:19   A. Yes.
              62:20   Q. And so when it says it is about his
              62:21      work, help me understand how that is done. Was
              62:22      he writing about his designs?
              62:23   A. Yes. He was publishing his design work
              62:24      and then he was also writing about it.
              63:01      Sometimes a monograph will have
              63:02      other people write about the work, but in this
              63:03      particular case he wrote about his own work. I
              63:04      think there was an introduction by someone else.
              63:05   Q. Okay.
              63:06   A. Yeah.
              63:07   Q. All right, so the vote in this case was
              63:08      six in favor and three against.
              63:09   A. Right.
              63:10   Q. If we can look at the end of Professor
              63:11      Mertins' letter, the last paragraph he is
              63:12      summarizing, I think, the faculty.
              63:13      It says, "The majority of faculty
              63:14      concluded that Ali Rahim has met all the
              63:15      criteria for tenure as associate professor at
              63:16      Penn."
              63:17      And then Professor Mertins has
              63:18      written at the end of that paragraph, "I support
              63:19      this promotion without reservation."
              63:20   A. Right.
              63:21   Q. In your experience, is it important to
              63:22      upper level review that the chair, the
              63:23      department chair's letter support a candidate
              63:24      without reservation in order to be successful?
              64:01   A. It is essential.
              64:02   Q. Let's look at another exhibit.
              64:03      What we are showing you now is
              64:04      Exhibit P-6. It is also a department letter and
              64:05      a CV.
              64:06      Can you tell us which tenure
              64:07      candidate this relates to?
              64:08   A. This was for Franca Trubiano for
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              64:09      promotion to associate professor with tenure.
              64:10   Q. And did you participate in the faculty
              64:11      vote when Professor Trubiano was considered for
              64:12      tenure?
              64:13   A. I did.
              64:14   Q. Who was the department chair at that
              64:15      time?
              64:16   A. It was David Leatherbarrow at that time.
              64:17   Q. Can you take a look at the second page
              64:18      of the department letter.
              64:19   A. Oh, no, I am sorry. It was Winka
              64:20      Dubbeldam. I am so sorry.
              64:21   Q. That is okay. Professor Leatherbarrow
              64:22      had that role for a while.
              64:23   A. Yeah, I was actually in London, but I
              64:24      participated remotely then.
              65:01   Q. Okay, I was going to ask if --
              65:02   A. Yes.
              65:03   Q. -- we take a look at the first paragraph
              65:04      of that letter.
              65:05   A. Yes.
              65:06   Q. There is a listing there of the people
              65:07      who are attending and it says you participated
              65:08      remotely.
              65:09   A. And I also wrote an internal letter. So
              65:10      yes --
              65:11   Q. Okay.
              65:12   A. -- it was Winka Dubbeldam.
              65:13   Q. Okay. And what is Professor Trubiano's
              65:14      field?
              65:15   A. Professor Trubiano, her field now is in
              65:16      technology, in building construction, and
              65:17      particularly in the industry of building
              65:18      construction. So she writes about that. She
              65:19      writes books about that.
              65:20      She didn't start in that. She has
              65:21      a Ph.D. that was all history theory. She wrote
              65:22      a huge dissertation on Piranesi, which is a very
              65:23      historical Italian figure.
              65:24   Q. Did she change her focus to building
              66:01      technology at the time of her tenure-track
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              66:02      appointment?
              66:03   A. No. She changed it. She applied in
              66:04      building technologies and there was a lot of
              66:05      discussion then about this also. But she was
              66:06      appointed in technology.
              66:07   Q. Professor Trubiano's gender is?
              66:08   A. Female.
              66:09   Q. Does she have children?
              66:10   A. No.
              66:11   Q. Let's look at her CV for a minute. I
              66:12      want to make sure I understand the publications.
              66:13   A. Okay.
              66:14   Q. I think we have to move to Page 4 of the
              66:15      CV, which looks likes there is a little number
              66:16      at the bottom of the page, it says "Penn 6247"
              66:17      on it.
              66:18   A. Right, uh-uh.
              66:19   Q. At the top it says "Publications:
              66:20      Books."
              66:21   A. Right.
              66:22   Q. There are three, so I wanted to make
              66:23      sure I understood this. So in 2012, is it
              66:24      correct that that book, her role was as an
              67:01      editor, not the author?
              67:02   A. Of building theories?
              67:03   Q. Design and Construction, the one in
              67:04      2012?
              67:05   A. Yes, uh-huh, that was a series of essays
              67:06      by other people.
              67:07   Q. Okay.
              67:08   A. Yes.
              67:09   Q. And that was published by?
              67:10   A. Routledge in 2012.
              67:11   Q. Okay. And is that a press that meets
              67:12      the criteria for tenure?
              67:13   A. Routledge is certainly academic, yes.
              67:14   Q. And then what is your understanding
              67:15      about the 2014 entry for publication?
              67:16   A. I believe it was the same book that had
              67:17      been translated into Korean. So it would have
              67:18      been the same book.
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                 67:19   Q. So the same book where she was the
                 67:20      editor?
                 67:21   A. Right, uh-huh, uh-huh.
                 67:22   Q. And then the one at the top, 2016.
                 67:23   A. Right.
                 67:24   Q. Building Theories. There is a reference
                 68:01      there, it says "Single Author Manuscript."
                 68:02   A. Right.
                 68:03   Q. Okay. At what point is that in the
                 68:04      process?
                 68:05   A. That was technically forthcoming. It
                 68:06      had been peer-reviewed. She cites Routledge so
                 68:07      I assume it had a contract and was forthcoming
                 68:08      the same year that she went up.
 72:06 - 72:20   Fierro, Annette 2022-08-11                                     00:00:36   AF_FINAL.7
                 72:06      At the time of a tenure review, is
                 72:07      there a consideration of a candidate's career
                 72:08      trajectory?
                 72:09   A. Yes, certainly.
                 72:10   Q. Okay.
                 72:11   A. Yes, certainly.
                 72:12   Q. And what is the expectation at the time
                 72:13      of the tenure review?
                 72:14   A. Well, I think Penn, as a leading
                 72:15      institution, wants to see people become very
                 72:16      famous in whatever they are doing. This helps
                 72:17      the reputation of the university. And so we are
                 72:18      both evaluating on the work that's been done and
                 72:19      does it look like this person is going to be an
                 72:20      important person in the field.
 79:11 - 80:11   Fierro, Annette 2022-08-11                                     00:01:00   AF_FINAL.8
                 79:11   Q. Professor Fierro, when you were being
                 79:12      considered for tenure at Penn, did you have
                 79:13      doubts about whether you would be successful?
                 79:14   A. Well, I think everyone has doubts to a
                 79:15      certain degree. It is a very stressful time.
                 79:16      Everybody is talking about you, whether you are
                 79:17      good enough. It is really, really stressful.
                 79:18      But I had been accepted by MIT
                 79:19      Press and that's sort of the gold standard for

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                 79:20      academic publications. So I had hoped that that
                 79:21      would be it, yes.
                 79:22   Q. In your experience at Penn with your
                 79:23      colleagues, is it typical for tenure candidates
                 79:24      to look for other jobs during the tenure review
                 80:01      process?
                 80:02   A. That always happens, yeah. I know
                 80:03      Andrew Saunders already had a position lined up
                 80:04      in case he didn't get tenure. A lot of people
                 80:05      do that.
                 80:06      You know, because they will
                 80:07      basically be without a job if they don't, if
                 80:08      they don't have another position.
                 80:09   Q. All right, we are going to talk about
                 80:10      Cathrine Veikos's tenure review process --
                 80:11   A. Okay.
 80:17 - 80:20   Fierro, Annette 2022-08-11                                     00:00:13   AF_FINAL.9
                 80:17      Did you observe or experience any
                 80:18      bias against women or bias against women with
                 80:19      young children in the department before
                 80:20      Professor Veikos was reviewed for tenure?
 82:11 - 84:19   Fierro, Annette 2022-08-11                                     00:02:32   AF_FINAL.10
                 82:11      I would say that my own case, you
                 82:12      know, there are several times where it was just
                 82:13      clear that, you know, they were clueless about
                 82:14      what it meant to have a pregnant faculty member.
                 82:15      I remember when I was pregnant with
                 82:16      my first child -- no, it was my second child
                 82:17      because it was December -- David, who was then
                 82:18      acting chair, asked me -- it was December. My
                 82:19      child was born on New Years Eve, so I was eight
                 82:20      months pregnant and I was enormous and I was
                 82:21      sitting in his oﬀice. And he advised me that I
                 82:22      should really go to Japan over Christmas to
                 82:23      further my research.
                 82:24      And I remember joking saying, you
                 83:01      know, David, I don't think anyone is going to
                 83:02      sell me a ticket now, do you?
                 83:03      BY MS. UEBLER:
                 83:04   Q. And when you make reference to "David,"

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                 83:05      who are you referring to?
                 83:06   A. David Leatherbarrow, who was the
                 83:07      chairman.
                 83:08      He then also went on to ask me what
                 83:09      I was going to be researching while I was on my
                 83:10      maternity leave.
                 83:11      And, you know, it just becomes very
                 83:12      evident that they have no idea that if you are a
                 83:13      young mother with a newborn, you are not going
                 83:14      to be doing any research, right. You are going
                 83:15      to be trying to make yourself a sandwich. There
                 83:16      is no time or mind space for research.
                 83:17      I remember coming in with a newborn
                 83:18      who was colicky and I had her in a strap and she
                 83:19      was screaming, and I was just there to check my
                 83:20      mail. And David started going on and on about,
                 83:21      you know, his latest topic of his book. And it
                 83:22      was just, you know, another indication that he
                 83:23      just didn't understand that I couldn't possibly
                 83:24      be listening to this in a serious way. I had a
                 84:01      screaming infant.
                 84:02      There was another time where I had
                 84:03      to bring my baby in to a student review. Again,
                 84:04      there is a kind of informal review, student
                 84:05      projects. I had a lot of trouble breastfeeding.
                 84:06      She wasn't taking a bottle.
                 84:07      The professor of the review said
                 84:08      just bring the baby in. It is okay.
                 84:09      So I ran home and I brought the
                 84:10      baby and she was great. She didn't cry, but she
                 84:11      was tucked into a kind of swaddle. And I
                 84:12      remember he made a nasty remark about that and
                 84:13      that how would the students be able to speak to
                 84:14      me with a baby in the room.
                 84:15      It was just a lot of really
                 84:16      insensitive stuﬀ. It was just, it just showed
                 84:17      that they were not familiar. I mean I was the
                 84:18      only faculty member who had really ever been
                 84:19      pregnant there.
 94:07 - 94:18   Fierro, Annette 2022-08-11                                     00:00:43   AF_FINAL.11

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                 94:07   Q. Was there a time when the university                           AF_FINAL.11
                 94:08      conducted training to combat the potential for
                 94:09      gender bias in selection decisions?
                 94:10   A. Yes. And in fact, I was deeply involved
                 94:11      in that. It was around 2010 where the
                 94:12      university was very concerned that women were
                 94:13      not being promoted to higher levels of academic
                 94:14      positions, and they formed, the provost formed a
                 94:15      committee for women and it was titled The
                 94:16      Women's Forum. And there was a set of founding
                 94:17      members from women all over the university, and
                 94:18      I was one of those women.
 95:23 - 97:01   Fierro, Annette 2022-08-11                                     00:01:22   AF_FINAL.12
                 95:23   Q. In your capacity as a member of the
                 95:24      women's forum, did you participate in any
                 96:01      training that the university put on on the issue
                 96:02      of gender bias?
                 96:03   A. Yes, there was a lot of training on
                 96:04      gender bias. There were external speakers
                 96:05      called in from all over the country that had
                 96:06      documented studies of gender bias. There were
                 96:07      many statistical studies about the dynamics of
                 96:08      the academy.
                 96:09      And especially the concern was the
                 96:10      kind of, the kind of fallout of women especially
                 96:11      at the tenure review level because a percentage
                 96:12      of untenured assistant professors, you know,
                 96:13      everyone was trying to hire more women, but they
                 96:14      would hit the tenure assessments and then the
                 96:15      percentage would drop dramatically.
                 96:16      And so there was a lot of talk
                 96:17      about how to prevent that, how to give women
                 96:18      equitable treatment, but also the unconscious,
                 96:19      there was, you know, unconscious bias training,
                 96:20      you know, how we all have to be careful, both
                 96:21      men and women on how we evaluate and the kind of
                 96:22      built-in prejudices that we have when we think
                 96:23      about women versus men. Things like names and,
                 96:24      you know, all kind of things that, you know,
                 97:01      aﬀect us.

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 97:15 - 98:11    Fierro, Annette 2022-08-11                                      00:00:49   AF_FINAL.13
                  97:15    Q. Okay, so I was going to ask you about
                  97:16       the intended audience. Did you sit in a
                  97:17       presentation in connection with this eﬀective
                  97:18       faculty searches material?
                  97:19    A. I sat in many presentations at the
                  97:20       university level and I gave this presentation to
                  97:21       my own faculty --
                  97:22    Q. Okay.
                  97:23    A. -- as I was asked to do.
                  97:24    Q. Okay. And the name on the front of this
                  98:01       is Lynn Hollen Lees."
                  98:02    A. Right.
                  98:03    Q. And who was she at the time?
                  98:04    A. She was the vice provost for faculty at
                  98:05       that time.
                  98:06    Q. Do you have an understanding of what her
                  98:07       role of vice provost of faculty is?
                  98:08    A. She essentially leads the faculty. The
                  98:09       faculty senate. She supervises all things which
                  98:10       have to do with the faculty across the
                  98:11       university.
106:08 - 109:08   Fierro, Annette 2022-08-11                                      00:02:56   AF_FINAL.14
                  106:08 Q. Okay.
                  106:09      I want to go back to that slide
                  106:10      deck that Lynn Lee's name is on.
                  106:11 A. Okay.
                  106:12 Q. So you had said to us that you brought
                  106:13      some of the training back to your department?
                  106:14 A. Right.
                  106:15 Q. Was it the training on faculty searches?
                  106:16 A. Yes. In fact, it was this slide
                  106:17      presentation.
                  106:18 Q. Okay.
                  106:19 A. Yeah, yeah.
                  106:20 Q. Can you tell us about that experience
                  106:21      when you talked about this training within the
                  106:22      department of architecture?
                  106:23 A. Yeah. It was very distressing. You
                  106:24      know, this has been -- this is not speculation.

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              107:01     This is fact. These are academic reports that
              107:02     have -- that come from many diﬀerent kinds of
              107:03     studies and this was coming down as a, you know,
              107:04     an important piece of the university's agenda.
              107:05     And many listened politely. And one even said,
              107:06     oh, that's just complete bullshit. You know,
              107:07     they didn't want to imagine that this could be
              107:08     true.
              107:09     And I was kind of shocked, you
              107:10     know. And I went back to the women's forum and
              107:11     said, well, this is what happened. And they
              107:12     were shocked too. Like, you know, who says that
              107:13     in a presentation of academic material.
              107:14 Q. So let's go back to the faculty meeting
              107:15     itself.
              107:16     Who was in the room when you were
              107:17     making this presentation?
              107:18 A. The standing faculty.
              107:19 Q. And can you identify who by name they
              107:20     were at the time?
              107:21 A. I don't know who was there at that
              107:22     particular meeting.
              107:23 Q. Okay. Okay. Who was it that made a
              107:24     comment about it?
              108:01 A. It was Witold Rybczynski.
              108:02 Q. And was he a tenured professor?
              108:03 A. He was a full tenured professor, yes.
              108:04 Q. Do you recall Cathrine Veikos speaking
              108:05     at that meeting?
              108:06 A. I do. Again, she and I were the only
              108:07     females in the room. And this was -- Marilyn
              108:08     never came to our meetings and Marion Weiss
              108:09     never came to meetings either. So I mean
              108:10     Cathrine and I were the only women and she was,
              108:11     you know, she's educated in these matters. And
              108:12     so she objected to that. And so she supported
              108:13     me and I was grateful for it. I was grateful
              108:14     that she supported the studies and the
              108:15     importance of these matters.
              108:16 Q. Let's take a look at another exhibit.
              108:17     You can put that one aside.
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                  108:18 A. Okay.
                  108:19 Q. I am showing you what has been marked as
                  108:20     P-14.
                  108:21 A. Okay.
                  108:22 Q. Can you tell us what this document is?
                  108:23 A. It was the minutes of a faculty meeting.
                  108:24     Although this looks like it was not just
                  109:01     standing because there are several people in
                  109:02     here who are not standing faculty. Julie
                  109:03     Beckman is not standing. Lindsay is not
                  109:04     standing.
                  109:05 Q. Just so we can confirm admissibility of
                  109:06     the exhibit.
                  109:07 A. Yes, it is minutes of a faculty meeting
                  109:08     taken on December 1st.
109:17 - 112:04   Fierro, Annette 2022-08-11                                     00:02:39   AF_FINAL.15
                  109:17 Q. P-14, are these the minutes from the
                  109:18     meeting you were just describing to us?
                  109:19 A. Yes, uh-huh.
                  109:20 Q. And --
                  109:21 A. I will actually correct myself. She was
                  109:22     not the only woman there because there are other
                  109:23     non-standing faculty.
                  109:24 Q. Was Cathrine Veikos the only other woman
                  110:01     you recalled speaking at the meeting?
                  110:02 A. Yes, uh-huh.
                  110:03 Q. Who was the chair at this point?
                  110:04 A. The chair was Bill Braham.
                  110:05 Q. Did the transition from chair go from
                  110:06     Detlef Mertins to Bill Braham?
                  110:07 A. Yes. There was a little confusion when
                  110:08     he was acting chair and then he became oﬀicial
                  110:09     chair, interim chair. There was all kinds of --
                  110:10 Q. Okay.
                  110:11 A. Yeah, but he was, yes.
                  110:12 Q. Okay. He had been associate chair
                  110:13     before that?
                  110:14 A. He had been associate chair, yeah.
                  110:15 Q. Okay. All right, so the discussion,
                  110:16     let's look at the discussion towards the bottom

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                  110:17     of the first page. This was about a specific
                  110:18     search of an assistant professor; is that right?
                  110:19 A. Right.
                  110:20 Q. Okay. And on the second page, I guess
                  110:21     it is the first full paragraph, which is just a
                  110:22     sentence, can you read that out loud for the
                  110:23     jury, please?
                  110:24 A. "The concept"?
                  111:01 Q. Yes.
                  111:02 A. "The concept of objective bias was
                  111:03     raised but discounted by the committee,
                  111:04     especially in terms of gender, because did not
                  111:05     have this information to be biased by." I guess
                  111:06     "because they," but the "they" is not in there,
                  111:07     right.
                  111:08 Q. Okay. This idea, concept of objective
                  111:09     bias, not to be biased by, did that make any
                  111:10     sense to you?
                  111:11 A. No, it didn't, because we had just gone
                  111:12     over the importance of even names and the names
                  111:13     are on the files, so of course we knew the
                  111:14     gender.
                  111:15 Q. Was it your understanding that this is a
                  111:16     reference, this is reference to the unconscious
                  111:17     bias training you were doing?
                  111:18 A. Yes, uh-huh. Yes.
                  111:19 Q. So this was as of December of 2010.
                  111:20 A. Right.
                  111:21 Q. How did that relate in timing to when
                  111:22     Cathrine Veikos was first evaluated for tenure?
                  111:23 A. I think she was evaluated in 2011,
                  111:24     correct? Yes. Yes.
                  112:01     So she was evaluated a er this.
                  112:02 Q. Was it in the same academic cycle?
                  112:03 A. Yes, definitely, yeah. Maybe what? A
                  112:04     month before? Two months before? Yeah.
112:15 - 126:22   Fierro, Annette 2022-08-11                                     00:16:09   AF_FINAL.16
                  112:15 Q. Professor Fierro, I now want to turn to
                  112:16     some questions about the tenure review process
                  112:17     when Cathrine Veikos was reviewed for tenure.

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              112:18      Who was the dean of the school of
              112:19      design at that time?
              112:20 A. Marilyn Taylor was.
              112:21 Q. Okay. We talked about her before, but
              112:22      can you give me just a sense of what her
              112:23      background was before she came to Penn?
              112:24 A. Marilyn Taylor was a senior person at
              113:01      Skidmore Owings & Merrill in New York, which is
              113:02      a very large corporate firm. She was known as
              113:03      an urbanist and as an architect, but she was not
              113:04      an academic.
              113:05 Q. And who was the department chair?
              113:06 A. It was Bill Braham. He was then, you
              113:07      know, full interim chair.
              113:08 Q. Okay. And did you participate in a
              113:09      reviewer capacity for Professor Veikos's review?
              113:10 A. Yes, I did.
              113:11 Q. Okay.
              113:12 A. I wrote an internal letter, yes.
              113:13 Q. Okay. And we talked about the fact of
              113:14      these review letters earlier, but can you give
              113:15      the jury an understanding of what do you do when
              113:16      you prepare an internal review letter?
              113:17 A. You read everything that they have ever
              113:18      written. So all of the articles and
              113:19      manuscripts.
              113:20      You review the syllabi of their
              113:21      courses. You review their student work in those
              113:22      courses. You review the external letters that
              113:23      have been sent in which pertain to their work.
              113:24 Q. And then what is the internal letter,
              114:01      then, your feedback on the work?
              114:02 A. Yes, my feedback on the work, but also
              114:03      in this case is Cathrine as a colleague, as a
              114:04      teacher, which is, you know, very important at
              114:05      the department level.
              114:06 Q. Okay. All right, let's take a look at
              114:07      some letters.
              114:08      I am showing you --
              114:09 A. This print is --
              114:10 Q. I know. I apologize in advance for the
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              114:11      way our colleagues over at Penn produced this to
              114:12      us.
              114:13 A. Okay.
              114:14 Q. We are looking at Exhibit P-15. Can you
              114:15      confirm what these letters are?
              114:16 A. Yes. This would be an external review
              114:17      letter. The first one is from Illa Berman, who
              114:18      was the director of the California College of
              114:19      the Arts when she wrote this.
              114:20 Q. And the review letter relates to who?
              114:21 A. The review letter relates to Cathrine
              114:22      Veikos, who was up for tenure. So this was
              114:23      reviewing her dossier.
              114:24 Q. Okay. So I want to take a look at a
              115:01      couple of things. So you identified Professor
              115:02      Berman as one of the authors of the review
              115:03      letters.
              115:04 A. Right.
              115:05 Q. Taking a look at the first paragraph --
              115:06 A. Okay.
              115:07 Q. -- of her letter, can you just, the jury
              115:08      will be looking at it, but could you review,
              115:09      read for us the first two sentences, please?
              115:10 A. "Professor Veikos's research and
              115:11      teaching is broadly focused on architecture's
              115:12      role as a medium for visual and material
              115:13      expression, an area of study with a wide range
              115:14      of scholarship and a deep history. Her recent
              115:15      contributions to this field are certainly
              115:16      significant and far reaching in scope and have
              115:17      taken many forms."
              115:18 Q. All right, and then towards the end of
              115:19      that same first paragraph she seems to sum up, I
              115:20      think, her opinion. Can you read that as well?
              115:21 A. "In summary, her accomplishments are
              115:22      certainly at or beyond a level of what might be
              115:23      expected of other scholars, professors and
              115:24      practitioners at a comparable stage in their
              116:01      careers and given her vitae she would no doubt
              116:02      be a candidate for the rank of associate
              116:03      professor with an architectural school at a
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              116:04      comparable advanced educational institution."
              116:05 Q. So did you have an understanding -- I
              116:06      know your specialty is not visual studies --
              116:07 A. Right.
              116:08 Q. -- but did you have an understanding of
              116:09      Professor Berman's reputation within
              116:10      architecture?
              116:11 A. Professor Berman at that moment was the
              116:12      chair of California College of the Arts. I also
              116:13      know her to have been the chair at Tulane. I
              116:14      have known her for many years because of
              116:15      presentations that we both gave in Halifax
              116:16      years, years before where she presented her
              116:17      dissertation at Harvard, which was very much a
              116:18      study in the visual matter of architecture.
              116:19 Q. All right. It looks like the second --
              116:20      to make it easy, these are in alphabetical
              116:21      order.
              116:22 A. Good.
              116:23 Q. The second letter was written by
              116:24      Christine Boyer.
              117:01      Is that also an external review
              117:02      letter for Cathrine's --
              117:03 A. This is also an external review letter.
              117:04      I think Christine Boyer is at Princeton and she
              117:05      is a historian on the city and in kind of the
              117:06      digital nature of the city.
              117:07 Q. Okay. And then I want to turn, I want
              117:08      to skip ahead, I have a question about a
              117:09      particular letter. If you can page forward to
              117:10      the letter written by, I guess it is the second
              117:11      or third to the last, Anthony Vidler.
              117:12 A. Yes.
              117:13 Q. What is your understanding of who
              117:14      Anthony Vidler is?
              117:15 A. Anthony Vidler is a very, very important
              117:16      scholar. He's probably the most important
              117:17      scholar in the bunch. He has, he has been at
              117:18      Princeton for a lifetime. He has written many
              117:19      books on many diﬀerent subjects. You know,
              117:20      he's probably one of the first scholars in the
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              117:21      country, if not the world.
              117:22 Q. Okay. All right, let's look at his
              117:23      assessment of Professor Veikos. I would like to
              117:24      start on the second page of his letter.
              118:01 A. Okay.
              118:02 Q. At the top, the paragraph that
              118:03      begins, "so." Could you read that out loud,
              118:04      please?
              118:05 A. "So, the answer to your first question
              118:06      as to the scope and significance of the
              118:07      candidate's creative achievements and their
              118:08      importance to the discipline would be that her
              118:09      book is indeed a serious scholarly contribution
              118:10      to the discipline, important not only for the
              118:11      history of theory, but also for design
              118:12      intelligence in the widest sense."
              118:13 Q. Okay. Thank you.
              118:14      There are a couple places, I think,
              118:15      in this letter that I want to draw your
              118:16      attention to to ask you questions about. So if
              118:17      we can go back to the first page of the letter,
              118:18      the bottom paragraph, there is a section, the
              118:19      sentence reads, "This unique aspect of
              118:20      Bo Bardi's work is taken up well in Veikos's
              118:21      book-length introduction, an introduction that
              118:22      suits Bo Bardi in her two contexts, the Italian
              118:23      and the Brazilian."
              118:24      So is that the book that you were
              119:01      talking about earlier that Professor Veikos had
              119:02      started working on at the time of her
              119:03      reappointment?
              119:04 A. Yes, uh-huh.
              119:05 Q. And so that we understand and the jury
              119:06      understands what this was, she wrote an
              119:07      introduction to another architect's written
              119:08      work?
              119:09 A. Right. The architect had written a
              119:10      manifesto, like a treatise on her work that was
              119:11      not widely known, and Cathrine was advised by
              119:12      David Leatherbarrow that this would be a very
              119:13      good way to establish herself as a scholar in
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              119:14      the work of Lina Bo Bardi, to translate that.
              119:15      So translations are regarded as a
              119:16      scholarly endeavor. Right? They are equivalent
              119:17      to other books. But Cathrine also augmented
              119:18      that with a very long introduction, which began
              119:19      to reframe some of the content of the manifesto.
              119:20 Q. Okay. All right, let's take a look at
              119:21      something else Professor Vidler says about
              119:22      Cathrine. On Page 2, below where we were
              119:23      reading before, there is a paragraph that
              119:24      starts, "In trying to rank the candidate."
              120:01      Can you read that out loud, please.
              120:02 A. "In trying to rank the candidate
              120:03      relative to leading scholars in the field at a
              120:04      comparable level of professional development, I
              120:05      would say that generally a tenured dossier in
              120:06      history and theory for a comparable university
              120:07      would require a first book already published and
              120:08      reviewed and a second book completed. But that
              120:09      would be the criteria used for scholars with a
              120:10      Ph.D. in hand at the time of employment.
              120:11 Q. Is that what we were talking about
              120:12      earlier?
              120:13 A. Yes.
              120:14 Q. So is Anthony Vidler considered somebody
              120:15      whose specialty or focus was history theory?
              120:16 A. Yes.
              120:17 Q. Did you read this to say that he thought
              120:18      Cathrine Veikos's level of publication was not
              120:19      qualifying for tenure?
              120:20 A. No. I think he was making light of the
              120:21      fact that she did not have a Ph.D. and did not
              120:22      have to make that second book, level of a second
              120:23      book completion. Which is what I mentioned
              120:24      before.
              121:01 Q. Okay, I see.
              121:02 A. Uh-huh.
              121:03 Q. All right, so taking the group -- I mean
              121:04      I know you looked at these letters in detail at
              121:05      the time of your tenure review.
              121:06 A. Yes.
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              121:07 Q. And probably also in preparation for
              121:08      this proceeding.
              121:09 A. Yes, uh-huh.
              121:10 Q. But in your view as also a reviewer of
              121:11      Cathrine Veikos's work, did you believe that the
              121:12      external reviewers as a whole supported Cathrine
              121:13      Veikos's promotion for tenure?
              121:14 A. Certainly. She has someone of the kind
              121:15      of stature of Anthony Vidler calling her work
              121:16      serious and profound.
              121:17      I thought Christine Boyer's letter,
              121:18      and she is also a very well known scholar, I
              121:19      think she called it brilliant.
              121:20 Q. Why don't we look at that letter. So it
              121:21      appears to be the second letter in the packet,
              121:22      which is P-15.
              121:23 A. All right, P-15. I am sorry, I am
              121:24      swimming in this.
              122:01 Q. If you start at the page that says --
              122:02 A. Here it is. I found it. Yes.
              122:03 Q. Take a moment, and then if you want to
              122:04      draw our attention to the section of that letter
              122:05      that identifies her opinion of Cathrine Veikos's
              122:06      work, that would be helpful.
              122:07 A. I am going to have to take my glasses
              122:08      oﬀ.
              122:09 Q. Yes. Take your time.
              122:10 A. She compliments it for being multi-
              122:11      layered and she talks about the interweaving of
              122:12      diﬀerent kinds of studies, which is the
              122:13      theatrical spectacles of Bo Bardi's architecture
              122:14      influenced by minimalist stages and then goes
              122:15      over issues carried over into Veikos's own
              122:16      writings on "Intricacies" about contemporary
              122:17      form and sheer opacity of contemporary
              122:18      enclosures, which could be seen as kind of a
              122:19      professional endeavor in some of this. And she
              122:20      is very complimentary on these
              122:21      cross-fertilizations that they have also at
              122:22      computational and digital technologies.
              122:23      So she's complimenting her for
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              122:24      addressing all of these diﬀerent realms at the
              123:01      same time and is very complimentary on that.
              123:02 Q. Okay. I want to now turn to, there are
              123:03      two letters from Caroline Constant in this --
              123:04 A. Right.
              123:05 Q. -- group.
              123:06 A. Uh-huh.
              123:07 Q. Let's look at the one that is dated
              123:08      February 9, 2011.
              123:09 A. Okay.
              123:10 Q. At the bottom right-hand corner it has
              123:11      designation Penn 0544.
              123:12 A. 00544, yes.
              123:13 Q. Yes.
              123:14 A. Okay.
              123:15 Q. So do you recognize this as a letter
              123:16      from Caroline Constant?
              123:17 A. Yes, I do.
              123:18 Q. Okay, and who is she?
              123:19 A. Another very well known scholar, older
              123:20      woman at the Taubman College of Architecture in
              123:21      Michigan, which is a very, very prominent school
              123:22      of architecture.
              123:23 Q. All right, let's take a look at a
              123:24      specific part of her letter. If you go to the
              124:01      third paragraph down.
              124:02 A. Right.
              124:03 Q. About the fourth line it says, "Veikos
              124:04      began this research in 2005 and sent her book
              124:05      proposal (or manuscript?) to Routledge for
              124:06      review in December 2010. Unfortunately, she did
              124:07      not include any portion of the manuscript in her
              124:08      dossier."
              124:09      What is your recollection about
              124:10      this circumstance?
              124:11 A. Because I read these letters in order to
              124:12      write my letter. That put up huge red flags for
              124:13      me because I had seen the dossier and Cathrine's
              124:14      full manuscript was in that dossier. And when I
              124:15      saw this, I thought, wait, what happened? She
              124:16      didn't have the dossier -- the dossier was
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              124:17      incomplete because it was finished. It was, you
              124:18      know, ready to go to publication.
              124:19      So I started thinking something
              124:20      must have happened in the procedures, you know,
              124:21      when the staﬀ or whoever put together the
              124:22      packages of the dossier didn't send out the
              124:23      completed piece.
              124:24 Q. And is it your recollection that
              125:01      Caroline Constant wrote another letter related
              125:02      to Professor Veikos?
              125:03 A. Yes. I remember, or it's in the
              125:04      package, in fact, the next letter.
              125:05 Q. And that is the one dated March 26th?
              125:06 A. Yes, exactly. Exactly. And what had
              125:07      happened, if I recall, is it became evident, and
              125:08      I don't quite remember how, that the required
              125:09      phrase for taking the additional year or the
              125:10      year extension for probationary period was not
              125:11      put in the letter requesting the external
              125:12      reviews. And so the external critics were sent
              125:13      a letter saying, would you change anything if
              125:14      you knew about this, if there was an extra --
              125:15      that the maternity leave had already been
              125:16      incorporated in that tenure clock.
              125:17      And so I think this letter
              125:18      addressed that request that --
              125:19 Q. Yes. I think we are going to get there,
              125:20      but I think --
              125:21 A. Okay.
              125:22 Q. Why don't you take a moment to review
              125:23      Caroline Constant's March 26th letter. Because
              125:24      there is a diﬀerent issue I wanted to draw your
              126:01      attention to.
              126:02 A. Okay.
              126:03 Q. But if you could read that over,
              126:04      particularly the last couple of paragraphs.
              126:05 A. Okay. Let's see. This is -- okay, so
              126:06      the last couple of paragraphs.
              126:07 Q. On Penn 0052.
              126:08 A. Okay.
              126:09      Would you like me to read that?
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                  126:10 Q. Just to yourself. Now I have a question
                  126:11     about one of the statements she made.
                  126:12 A. Okay.
                  126:13 Q. Okay, at the end of the second to the
                  126:14     last paragraph, Professor Constant wrote, "The
                  126:15     status of that book" -- meaning her Bo Bardi
                  126:16     book --
                  126:17 A. Right.
                  126:18 Q. -- "project remains a primary question,
                  126:19     however. Acceptance for publication by
                  126:20     Routledge, if only provisional, would be a
                  126:21     significant factor on which to base a positive
                  126:22     evaluation of her case."
128:01 - 128:23   Fierro, Annette 2022-08-11                                    00:00:40   AF_FINAL.17
                  128:01     BY MS. UEBLER:
                  128:02 Q. In your view was it important for the
                  128:03     external reviewers to be notified that
                  128:04     Cathrine's book had been --
                  128:05 A. Absolutely.
                  128:06 Q. -- accepted?
                  128:07 A. Absolutely. It is incredibly important
                  128:08     for them to know that this book has been
                  128:09     accepted by Routledge.
                  128:10 Q. And --
                  128:11 A. It changes everything.
                  128:12 Q. And when you wrote your internal letter
                  128:13     relating to Cathrine Veikos, did you know that
                  128:14     her book on Bo Bardi had been accepted for
                  128:15     publication?
                  128:16 A. Yes, I did.
                  128:17 Q. And at the time, and we will talk about
                  128:18     it, but at the time that the faculty met to
                  128:19     consider Cathrine Veikos' promotion for tenure,
                  128:20     did they know that the book had been accepted
                  128:21     for publication?
                  128:22 A. Yes, they did.
                  128:23 Q. Okay.
129:17 - 132:04   Fierro, Annette 2022-08-11                                    00:02:50   AF_FINAL.18
                  129:17 Q. Okay.
                  129:18     Let's take a look at your letter.

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              129:19      I have handed you what has been
              129:20      marked as Exhibit P-16. I guess the first thing
              129:21      we should do is confirm in fact that that is
              129:22      your internal letter relating to Cathrine
              129:23      Veikos's tenure review?
              129:24 A. It is. It is dated March 2011. A long
              130:01      time ago.
              130:02 Q. All right, I want to ask a couple
              130:03      questions. So in this first paragraph, it is
              130:04      written to the chair at the time, Bill Braham.
              130:05 A. Right.
              130:06 Q. At the end of that first paragraph, do
              130:07      you recommend Cathrine for tenure?
              130:08 A. Yes, I was very happy to recommend her
              130:09      with the strongest possible recommendation,
              130:10      enthusiastically and without hesitation.
              130:11 Q. As part of your letter, did you raise
              130:12      any concerns about the presentation of the
              130:13      external letters?
              130:14 A. I did.
              130:15 Q. Can you draw our attention to that in
              130:16      your letter?
              130:17 A. Yes. The first part of this relates to
              130:18      my own reading of her work, which I still think
              130:19      is very good.
              130:20      Yes, "I have read carefully all of
              130:21      the other external letters currently available
              130:22      for Veikos's case for tenure."
              130:23 Q. And just to orient the jury who will be
              130:24      looking at this as well, it is the bottom of
              131:01      Page 3 of your letter?
              131:02 A. Yes, uh-huh.
              131:03 Q. Okay, thank you.
              131:04 A. And I stated again I was very concerned
              131:05      just in kind of factual errors. Okay?
              131:06      "Constant mentions the unclear status of the two
              131:07      manuscripts' completion. She was clearly not
              131:08      aware that the manuscript has not only been
              131:09      completed, reviewed by external readers provided
              131:10      by the publisher and indeed had been accepted
              131:11      for publication."
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                  131:12 Q. And the area you are reviewing now, that
                  131:13     is at the top of Page 4?
                  131:14 A. The top of Page 4. So this is in my
                  131:15     letter to Bill and the faculty saying that these
                  131:16     were errors that were clearly indicated in the
                  131:17     external reviewer's responses. They didn't know
                  131:18     they had been accepted by publication.
                  131:19     And then I was also really
                  131:20     concerned that Constant raised doubt as to
                  131:21     whether Cathrine's papers published in the
                  131:22     ACSA -- and this is the American Collegiate
                  131:23     Schools of Architecture -- this is the national
                  131:24     body of, you know, architecture academicians --
                  132:01     were not, quote, strictly speaking peer-
                  132:02     reviewed.
                  132:03     And I thought, well, that's really
                  132:04     odd.
132:11 - 132:13   Fierro, Annette 2022-08-11                                     00:00:10   AF_FINAL.19
                  132:11     I mean the ACSA is the primary
                  132:12     venue for assistant professors to publish
                  132:13     scholarly work on architecture.
132:15 - 139:17   Fierro, Annette 2022-08-11                                     00:07:33   AF_FINAL.20
                  132:15 Q. Okay.
                  132:16 A. Then should we go into the letter by
                  132:17     Judy Sheine?
                  132:18 Q. Yes, the question I have pending is just
                  132:19     to have you draw to our attention the concerns
                  132:20     you had about the external letters.
                  132:21 A. Yeah. I mean I think that just
                  132:22     procedurally it was clear that the dossier had
                  132:23     not been sent out completely. I think Judith
                  132:24     Sheine's letter goes further, and she starts
                  133:01     talking about how this really needs a
                  133:02     bibliography and illustrations. And the book
                  133:03     had 200 illustrations and had a full
                  133:04     bibliography. So either she didn't see them or
                  133:05     they weren't included in the package.
                  133:06     So again, it made me really
                  133:07     concerned that there had been some kind of
                  133:08     glitch in just sending out the correct dossier,

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              133:09      because how could they say that wasn't there
              133:10      when it was clearly there.
              133:11 Q. Did you think, is it your recollection,
              133:12      or if we want to look at the external letters
              133:13      again, you are certainly welcome to, was there
              133:14      anyone of the external reviewers who had any
              133:15      criticisms of Professor Veikos's scholarship as
              133:16      compared to the volume of her work?
              133:17 A. I think probably Judith Sheine was most
              133:18      critical. I think, you know, certainly these
              133:19      glitches in the manuscript. I think, I agreed
              133:20      in fact with Sheine saying it needed editing.
              133:21      It certainly needed editing. It had just
              133:22      started, you know, at the editing process.
              133:23      She talked about an exhaustive use
              133:24      of sources that needed some hierarchy. I
              134:01      probably agreed a bit with that. But I don't
              134:02      think those were, you know, those are criticisms
              134:03      that are based on editing. Right? We all need
              134:04      that. I certainly need that now. Yeah. We all
              134:05      need the help of editors at some point. Yes.
              134:06      Uh-huh.
              134:07 Q. All right. Let's put your letter aside.
              134:08 A. Okay.
              134:09 Q. And I want to talk about some other
              134:10      aspects of the process.
              134:11      Who do you recall serving on the
              134:12      ad hoc committee for Cathrine Veikos's first
              134:13      tenure review?
              134:14 A. I believe it was Marion Weiss and Ali
              134:15      Rahim.
              134:16 Q. And they were tenured professors at the
              134:17      time?
              134:18 A. They were tenured professors at the
              134:19      time.
              134:20 Q. Who selected them, as far as you know,
              134:21      to serve in that capacity?
              134:22 A. Bill Braham as chair selects all of the
              134:23      reviewers and all internal, external, and the
              134:24      ad hoc committee.
              135:01 Q. Did you think that Professors Rahim and
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              135:02     Weiss were qualified to serve on the ad hoc --
              135:03 A. No.
              135:04 Q. -- committee for Professor Veikos?
              135:05 A. I did not.
              135:06 Q. Why not?
              135:07 A. I had thought that just professionally
              135:08     they were not competent in the issues that she
              135:09     was writing about. They are design
              135:10     practitioners. They are not scholars. They are
              135:11     not academicians. Their body of work is, you
              135:12     know, not only drawn work, but built work. So
              135:13     they are, they are coming from the vantage of
              135:14     like who she might be as a designer, and she
              135:15     wasn't working that way then. And I remember
              135:16     there were several sentences that qualified what
              135:17     this had to do with architecture, which were
              135:18     just basically absurd.
              135:19     So I didn't think that they were
              135:20     qualified to review her work as a scholar. And
              135:21     I also thought that, you know, Ali Rahim had
              135:22     made clear in several venues that he didn't
              135:23     really favor her candidacy. So I thought that
              135:24     was very weird that he would ask for an
              136:01     objective reading, Bill would ask for an
              136:02     objective reading from Ali Rahim because he was
              136:03     predisposed against her. And it was
              136:04     distressing.
              136:05 Q. Did you communicate with Ali Rahim or
              136:06     Marion Weiss about Cathrine Veikos' tenure case
              136:07     as it was unfolding?
              136:08 A. I didn't communicate with Ali, but I did
              136:09     communicate with Marion, and I think I wrote her
              136:10     a note because she was, of course, another woman
              136:11     and I thought, you know, we should support each
              136:12     other. And I think I wrote her a note to please
              136:13     be thorough and careful in assessing the work.
              136:14     This was before I knew that she was on the
              136:15     ad hoc committee. And then as soon as I found
              136:16     out I corrected myself, because it probably
              136:17     wasn't proper for me to write to her about this,
              136:18     but I hadn't really known.
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              136:19      So, but yeah, I wrote to her to
              136:20      please be careful with this because it was an
              136:21      important case.
              136:22 Q. Okay. All right, let's look at some of
              136:23      those e-mails. I am going to hand you what has
              136:24      been marked as Exhibit P-17.
              137:01 A. Right.
              137:02 Q. It is two diﬀerent e-mails.
              137:03 A. Right.
              137:04 Q. Are these the e-mails that you recall
              137:05      exchanging with Marion Weiss at the time?
              137:06 A. Yes, right.
              137:07 Q. Okay. I have a couple of questions. So
              137:08      let's start with the first, the top one, it says
              137:09      April 5th, 2011.
              137:10 A. Right.
              137:11 Q. You are asking, I guess, Professor Weiss
              137:12      if she will be at the meeting?
              137:13 A. Right.
              137:14 Q. Is that the faculty meeting where the
              137:15      case would be discussed?
              137:16 A. Right, yeah.
              137:17 Q. Then you say, "I don't know how you are
              137:18      disposed towards Cathrine's case."
              137:19      Did you have a sense at that time?
              137:20 A. I didn't know. As I said, Marion is not
              137:21      present o en, but I thought that, you know, I
              137:22      mean Cathrine was a serious candidate and I was
              137:23      hoping that she would be there to support her.
              137:24 Q. Okay.
              138:01 A. And I thought, you know, it would help
              138:02      if I describe the work, because Marion is a very
              138:03      busy person and is inclined not to read things
              138:04      or look at things carefully. To be honest.
              138:05      Right? Marion is a friend, but she's very busy.
              138:06 Q. There is a reference here in your
              138:07      e-mail. You know, the second line, it says,
              138:08      "and heard the argument, you would be inclined
              138:09      to support her. And she does need it."
              138:10      Are you referring to Cathrine
              138:11      needing her help?
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                  138:12 A. You know, when Ali -- when Bill asked me
                  138:13      to write the internal letter, he made some kind
                  138:14      of vague mention about how he was concerned.
                  138:15      And it might have been before or a er the
                  138:16      external letters came in. I'm not quite sure.
                  138:17      But I guess I was just saying in reference to
                  138:18      that note of Bill's, you know, we're going to
                  138:19      need support for this, you know, given what Bill
                  138:20      had said.
                  138:21 Q. But at the time you felt -- did you feel
                  138:22      Cathrine Veikos was qualified for tenure?
                  138:23 A. Oh, certainly. Without a doubt.
                  138:24 Q. All right, let's look at the second page
                  139:01      of this exhibit, which it looks like it is a
                  139:02      subsequent e-mail to Marion Weiss the same day.
                  139:03 A. Uh-huh.
                  139:04 Q. Can you tell us about that
                  139:05      communication?
                  139:06 A. Right. This is me saying oh, I'm so
                  139:07      sorry, you know, you are on the ad hoc
                  139:08      committee. You know, I didn't want to influence
                  139:09      her. Right.
                  139:10 Q. Okay. And did you end up speaking to
                  139:11      her at all about Cathrine Veikos's case?
                  139:12 A. No, uh-uh. No.
                  139:13 Q. Okay. All right, let's look at the
                  139:14      ad hoc letter itself.
                  139:15 A. In fact, she didn't come to that first
                  139:16      faculty meeting. Right? So again, she was
                  139:17      disconnected.
140:09 - 143:06   Fierro, Annette 2022-08-11                                      00:03:44   AF_FINAL.21
                  140:09 Q. Professor Fierro, I was handing you a
                  140:10      document that has been marked as Exhibit P-18.
                  140:11      Can you tell me whether or not this
                  140:12      is the ad hoc committee letter that was written
                  140:13      for Cathrine Veikos's first tenure review?
                  140:14 A. Yes, it is.
                  140:15 Q. Okay. You had already indicated that
                  140:16      you did not think Professors Rahim and Weiss
                  140:17      were qualified to write about Cathrine Veikos's

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              140:18     work, but my question is diﬀerent now.
              140:19     Do you think that the letter they
              140:20     wrote accurately assessed her work once you had
              140:21     seen it?
              140:22 A. No, no. I had all kinds of objections.
              140:23     In particular, I'll point to one, "As presented
              140:24     in the dossier, the patterns and ideas, although
              141:01     interesting, are not calibrated in relation to
              141:02     space or architecture." I had no --
              141:03 Q. Can you tell me where it is so we can
              141:04     show it to the jury?
              141:05 A. Yes. It is close to the bottom of the
              141:06     second paragraph which begins, "as can be seen."
              141:07 Q. Okay, yes, I see. Thank you.
              141:08 A. I thought that was an odd qualification,
              141:09     not calibrated in relation to space or
              141:10     architecture. It was all about space or
              141:11     architecture. Certainly about kind of the
              141:12     reception of, and I know this is going to get
              141:13     arcane again, the reception of the building in
              141:14     space. It is about building, so I don't know
              141:15     how that was not about architecture.
              141:16     I thought that the citations on
              141:17     what they expected her to relate to, I thought
              141:18     those were their own personal views on what that
              141:19     related to. That was very random. I'm sorry,
              141:20     that's in the fourth paragraph. In reviewing
              141:21     her students' work from the seminar, it appears
              141:22     to be less original, and then they cite some
              141:23     museum exhibits. I thought that was very random
              141:24     to pull in in context to her work. I thought
              142:01     there is not really any relationship.
              142:02     There was, I tended to agree with
              142:03     the comment on Preston Scott Cohen. I thought
              142:04     he was a very relevant model for what she was
              142:05     doing. So I thought that was good.
              142:06     And then they clearly could not
              142:07     comment on the text because they talk about they
              142:08     "could not evaluate its significance by
              142:09     historians or scholars as well as contemporary
              142:10     theorists with expertise in the area."
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                  142:11      So, you know, they just had no,
                  142:12      they weren't equipped to understand what she was
                  142:13      doing. They were not qualified. And they say,
                  142:14      "We are somewhat limited in our ability to
                  142:15      assess her strengths either as a designer or
                  142:16      scholar due to the limited production presented
                  142:17      in her dossier."
                  142:18      I would say no, they are not
                  142:19      qualified period. But are optimistic that her
                  142:20      scholarship will work. Yeah.
                  142:21 Q. The reference to limited production, did
                  142:22      you believe there was limited production in her
                  142:23      dossier?
                  142:24 A. No.
                  143:01 Q. Okay.
                  143:02 A. I think I was, I think they were
                  143:03      pointing to the design work, they expected her
                  143:04      to be designing, and that's not what she was
                  143:05      doing then. So again, a sort of miss, missed
                  143:06      trajectory.
143:24 - 150:05   Fierro, Annette 2022-08-11                                      00:06:57   AF_FINAL.22
                  143:24      I want to talk now about the
                  144:01      faculty meeting when Cathrine Veikos's tenures
                  144:02      case --
                  144:03 A. Okay.
                  144:04 Q. -- was considered the initial time.
                  144:05      You attended that meeting?
                  144:06 A. Yes.
                  144:07 Q. Do you recall who else was in the room?
                  144:08 A. I recall that Marion was not there.
                  144:09      Witold was there. Bill Braham was there. David
                  144:10      Leatherbarrow was there. Frank Matero was
                  144:11      there. It's in the minutes. Yes? I can't
                  144:12      completely remember.
                  144:13 Q. It is. Was Ali Rahim present?
                  144:14 A. Yes, of course he was present.
                  144:15 Q. Okay.
                  144:16 A. Yeah.
                  144:17 Q. Okay. We have talked about some of
                  144:18      these people before because we talked about

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              144:19      their tenure cases.
              144:20 A. Right.
              144:21 Q. Who is Frank Matero and what was his
              144:22      field?
              144:23 A. Frank Matero was the head of the
              144:24      preservation department, and so a slightly
              145:01      diﬀerent field, but still within architecture.
              145:02 Q. And you mentioned Witold. Who is that,
              145:03      what's his last name?
              145:04 A. Witold Rybczynski is a very well-known
              145:05      author of sort of popular books on architecture.
              145:06      I don't mean to be demeaning, but yes.
              145:07 Q. He is the professor --
              145:08 A. He talks about comfortable houses and he
              145:09      was appointed -- he never went through the
              145:10      tenure. He was appointed as a significant
              145:11      writer.
              145:12 Q. Okay. All right, let's focus on the
              145:13      meeting itself. So you described before when
              145:14      there was a faculty meeting to consider
              145:15      tenure --
              145:16 A. Right.
              145:17 Q. -- the faculty is sitting around the
              145:18      table.
              145:19      Can you tell us and tell the jury
              145:20      what you recall about that meeting?
              145:21 A. I recall that the meeting was largely
              145:22      warm and receptive and supportive. I remember
              145:23      that we addressed some of the qualifying points
              145:24      of the letters. That's typical in tenure cases
              146:01      because we worry about how those letters will be
              146:02      read by the next tiers of reviewers. So that we
              146:03      know we have to answer to some of those if we
              146:04      want the case to be successful.
              146:05      So we talked about the Judith
              146:06      Sheine letter, which was really the only
              146:07      negative letter. We talked about the
              146:08      inconsistencies. I raised in the meeting all of
              146:09      the inconsistencies in the dossier like, you
              146:10      know, if the manuscript, if they had known the
              146:11      manuscript was accepted, had they received the
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              146:12     bibliography, had they received the
              146:13     illustrations, because they were clearly, there
              146:14     was clear mistakes. There was just factual
              146:15     errors in the external letters.
              146:16     So we talked about all of that. We
              146:17     talked about Cathrine as a teacher. We all
              146:18     thought she was a tremendous teacher.
              146:19     We talked about her as a team
              146:20     player. She had done, you know, mountains of
              146:21     service. She had led her field in visual
              146:22     studies in terms of the curriculum. And she had
              146:23     done enormous amounts of work and progress in
              146:24     defining a visual studies curriculum for
              147:01     students and for coursework.
              147:02     We talked about the nature of her
              147:03     seminars. And we talked about, you know, the
              147:04     production of her work.
              147:05 Q. Do you recall if David Leatherbarrow was
              147:06     supporting her at that time?
              147:07 A. David Leatherbarrow was very supportive
              147:08     of her in that meeting, yep.
              147:09 Q. Was there a discussion about the
              147:10     quantity of her publications during the faculty
              147:11     meeting?
              147:12 A. There was because of the qualifications
              147:13     in the letters. I mean I cleared up that all of
              147:14     the articles had been peer reviewed and I think
              147:15     she had some -- I'm not quite sure now how
              147:16     many -- at least a dozen, which means that was
              147:17     standard. We talked about, you know, some of
              147:18     the things that had been said in the letters,
              147:19     which didn't, simply weren't clear.
              147:20     I remember that Frank Matero even
              147:21     raised his hands and said, how is this not
              147:22     enough? Very emphatically. Very decisively in
              147:23     support of her because it was clear that her
              147:24     dossier was fine.
              148:01 Q. Do you recall any of the department
              148:02     faculty members expressing a negative view of
              148:03     her qualifications at the meeting?
              148:04 A. Ali Rahim talked about how he did not
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              148:05     think this was enough and he didn't think the
              148:06     work was strong. And as I said, I knew that was
              148:07     coming.
              148:08     I think given the nature of the
              148:09     Judith Sheine letter, we all knew we had to be
              148:10     very supportive because these letters are read
              148:11     very carefully at the diﬀerent stages of
              148:12     review. But yeah, we were supportive, yeah.
              148:13 Q. Do you recall any discussion at the
              148:14     meeting about Cathrine's gender or the fact that
              148:15     she was a mother?
              148:16 A. Well, I brought, I brought up given the
              148:17     context of the discussions in the women's forum,
              148:18     I brought up that it was very important for us
              148:19     as a faculty because this was so much in the
              148:20     kind of limelight at the university. And I
              148:21     talked about how important it was to do
              148:22     everything that we could to support, without
              148:23     casting, you know, doubt on her qualifications
              148:24     certainly. And we talked about that too as
              149:01     well. You know, we could talk about it within
              149:02     the meeting, that it was very important to
              149:03     support women, but we could not put that in the
              149:04     letters because it would be seen as qualifying
              149:05     Cathrine's production.
              149:06 Q. Did you, in raising that or as
              149:07     participant in the meeting, think that Cathrine
              149:08     Veikos's tenure case should be evaluated on a
              149:09     diﬀerent standard --
              149:10 A. No.
              149:11 Q. -- because she was a woman or because
              149:12     she had a child?
              149:13 A. No. That's impossible. Right? We
              149:14     can't do that.
              149:15 Q. Were you the only woman present at the
              149:16     faculty meeting?
              149:17 A. Yes, uh-huh.
              149:18 Q. Was there a consensus among the faculty
              149:19     about Cathrine Veikos's qualifications for
              149:20     tenure at the end of the meeting?
              149:21 A. Yes. We voted and the vote was
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                  149:22     five/one, with Ali Rahim as the dissenting
                  149:23     person, yes.
                  149:24 Q. As a tenured member of the department
                  150:01     who has also voted on other tenure cases, how
                  150:02     did you think Professor Veikos's qualifications
                  150:03     for promotion with tenure compared to the other
                  150:04     candidates who had been tenured, both before and
                  150:05     a er her?
150:08 - 151:19   Fierro, Annette 2022-08-11                                     00:01:51   AF_FINAL.23
                  150:08     THE WITNESS: I thought it was
                  150:09     equal, if not superlative to at least half of
                  150:10     those other people.
                  150:11     BY MS. UEBLER:
                  150:12 Q. You mentioned that the vote was five to
                  150:13     one. I assume that means five in favor?
                  150:14 A. Five in favor and one against.
                  150:15 Q. How does that work when the faculty
                  150:16     votes, what is the process -- or let's focus
                  150:17     specifically on the vote for Cathrine Veikos's
                  150:18     tenure case, what were the logistics of that?
                  150:19 A. A er we talk about it -- we follow
                  150:20     parliamentary procedure -- someone has to move
                  150:21     that we approve Cathrine Veikos for promotion to
                  150:22     the rank of associate professor with tenure.
                  150:23     Someone has to second it. There's a final call
                  150:24     for discussion. By that time usually we have
                  151:01     discussed it to death, but sometimes there's new
                  151:02     things that come up. And then we take the vote.
                  151:03     This was a blind vote. I think we wrote -- we
                  151:04     typically write on pieces of paper that have
                  151:05     been folded and then we pass the notes to Bill
                  151:06     and then Bill announced the vote as five to one.
                  151:07     And then the meeting was adjourned.
                  151:08 Q. At the end of the meeting, did you have
                  151:09     any expectation one way or the other as to
                  151:10     whether or not Cathrine Veikos would be promoted
                  151:11     with tenure at Penn?
                  151:12 A. I mean there's always doubt for what can
                  151:13     happen at subsequent levels, but there had been
                  151:14     many votes that were worse that were not as

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                  151:15     supportive where people got tenure. So five/one
                  151:16     is a very supportive vote. Right? You know,
                  151:17     it's very rare that votes are unanimous. So
                  151:18     five/one seems to be like, yes, she is going
                  151:19     forward.
153:06 - 166:10   Fierro, Annette 2022-08-11                                     00:14:20   AF_FINAL.24
                  153:06 Q. I want to talk about, go back to
                  153:07     Cathrine Veikos's tenure review.
                  153:08     You told me about the vote that was
                  153:09     taken at the end of the faculty meeting?
                  153:10 A. Right.
                  153:11 Q. Did you receive a dra of Professor
                  153:12     Braham's letter to the personnel committee
                  153:13     before it was sent up the chain for review?
                  153:14 A. No.
                  153:15 Q. Did you see it at some point?
                  153:16 A. I did. When it became part of the
                  153:17     dossier, I was looking for something in there.
                  153:18     And I stumbled on it.
                  153:19 Q. Okay.
                  153:20 A. And so, yeah, when I --
                  153:21 Q. All right. Let me show you a document.
                  153:22     You can confirm whether this is the letter. It
                  153:23     is Exhibit P-19.
                  153:24     Is Exhibit P-19 the letter
                  154:01     Professor Braham wrote to the personnel
                  154:02     committee about Professor Veikos?
                  154:03 A. Yes, this is what I stumbled upon.
                  154:04 Q. Did you think that the letter that
                  154:05     Professor Braham wrought accurately described
                  154:06     the faculty meeting?
                  154:07 A. No. In fact, I wrote to him immediately
                  154:08     because it was so oﬀ. First of all, the
                  154:09     faculty voted four in favor and two opposed to a
                  154:10     motion for promotion.
                  154:11 Q. And you are reading from the exhibit
                  154:12     right now?
                  154:13 A. Yes, uh-huh.
                  154:14 Q. Okay.
                  154:15 A. Which was not the vote. The vote was

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              154:16     five/one. And I wondered what on earth had
              154:17     happened to change the vote to four/two. It is
              154:18     a very diﬀerent kind of vote.
              154:19     And then when I read through the
              154:20     letter I became even more concerned. I didn't
              154:21     think that the text represented any of the
              154:22     superlatives either that we had accorded to
              154:23     Cathrine as a colleague or that had been give to
              154:24     her by the external reviewers. All of the
              155:01     comments seemed to be sort of middle grade
              155:02     analysis or middle grade kind of remarks.
              155:03     For example, in her letter,
              155:04     Christine Boyer observed the "nice interweaving
              155:05     of theoretical and practical work."
              155:06 Q. Can you tell us where in the letter you
              155:07     are reading?
              155:08 A. This is the end of the one, two, three,
              155:09     four, fi h paragraph where, you know, Christine
              155:10     Boyer had also talked about how brilliant
              155:11     Cathrine was. And so it was picking out
              155:12     comments which didn't support her to the degree
              155:13     that I thought the letters had.
              155:14     There was a lot that kind of
              155:15     pointed to Vidler's remarks for example, that we
              155:16     just read, would require a first book already
              155:17     published and a second book completed. Without
              155:18     mentioning the fact that that was in direct
              155:19     reference to having a Ph.D. It was clearly
              155:20     unfair.
              155:21     And then, yeah, I mean there was
              155:22     just, you know, all kind of things which didn't
              155:23     seem to be accurate. We had all supported
              155:24     Cathrine at the meeting and there was a lot in
              156:01     those letters that were very, very positive.
              156:02     And so in the end, you know, he
              156:03     turns out to say it is with much regret that I
              156:04     must advocate against promotion in this case.
              156:05     Which means that he changed his vote. And so
              156:06     that became clear. And so I immediately wrote
              156:07     him a very strong e-mail.
              156:08 Q. And we will get to that.
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              156:09 A. Okay.
              156:10 Q. I have a couple other questions --
              156:11 A. Okay.
              156:12 Q. -- about this particular letter --
              156:13 A. Okay.
              156:14 Q. -- which is Exhibit P-19.
              156:15      So the letter, I guess where the
              156:16      vote is reported is in that first paragraph.
              156:17 A. Right.
              156:18 Q. Did you know prior to finding the letter
              156:19      in Penn's materials that Professor Braham had
              156:20      changed his vote?
              156:21 A. No.
              156:22 Q. Had he notified you --
              156:23 A. No.
              156:24 Q. -- of that?
              157:01 A. No.
              157:02 Q. There is a reference in the second
              157:03      paragraph of the letter where Professor Braham
              157:04      is giving some background about Professor Veikos
              157:05      and that last sentence -- or second to the last
              157:06      sentence says, "She was reappointed in 2006 and
              157:07      the following year was granted an additional
              157:08      year in her tenure probation period because of
              157:09      the birth of her son."
              157:10      Is that accurate?
              157:11 A. Well, you know, an additional year is
              157:12      not really what you are given. You are given an
              157:13      extension to the probationary period. It is not
              157:14      like someone gives you a year of your -- of more
              157:15      research time. It is that you are at home busy
              157:16      with your child. You know, this is not -- even
              157:17      the language is really not fair in that simple
              157:18      phrase. It is not an additional year. You have
              157:19      the same probationary period. It just happens
              157:20      to be that you are taking care of an infant for
              157:21      a year.
              157:22 Q. Going towards the bottom of the letter,
              157:23      the paragraph that ends that first page and
              157:24      begins with the sentence, "Over the past decade,
              158:01      she has moved from creative practice to critical
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              158:02      writing and scholarship." And then it goes on.
              158:03 A. Right.
              158:04 Q. I think we talked about this before, but
              158:05      at what point was it that she moved from
              158:06      creative practice to critical writing?
              158:07 A. Before she came to Penn.
              158:08 Q. Okay. So at the time she was at Penn
              158:09      she was already focused on her scholarship?
              158:10 A. She was already focused. She was
              158:11      starting her research, yeah.
              158:12 Q. And let me look. There is a reference
              158:13      on Page 2 of this letter I want to draw your
              158:14      attention to, like the fourth line down, the
              158:15      sentence starts "however." And the paragraph
              158:16      that begins, "Cathrine's writings were admired
              158:17      by the faculty."
              158:18 A. Okay.
              158:19 Q. And then the fourth line down it says,
              158:20      "However, the challenges of moving from practice
              158:21      to scholarship were remarked by other faculty
              158:22      and especially by a number of the external
              158:23      reviewers who wanted the scholarship, but
              158:24      questioned whether there was a suﬀicient body
              159:01      of work."
              159:02      In your view, was it important for
              159:03      the chair of the department to communicate to
              159:04      higher levels that there was an issue with
              159:05      whether the reviewers knew her book was accepted
              159:06      for publication?
              159:07 A. Absolutely. I also think we did have a
              159:08      discussion about whether that dossier was
              159:09      complete. I mean it reflected badly on him that
              159:10      the dossier was not complete. So I won't
              159:11      speculate on that.
              159:12 Q. Okay.
              159:13 A. Yeah.
              159:14 Q. All right, before I asked the specific
              159:15      questions about the letter, you were going to
              159:16      tell us about how you responded to coming across
              159:17      Professor Braham's letter.
              159:18 A. You know, I was just shocked. I was
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              159:19      shocked. I had never heard of anything like
              159:20      this happened before. I mean this is a very
              159:21      oﬀicial vote and this is a very serious thing
              159:22      for someone's life that, you know, you would
              159:23      want to do this absolutely by the book. You
              159:24      know, because the whole thing was a mess.
              160:01      Right? The dossier transmission was a mess. It
              160:02      was just all incredibly sloppy. And then having
              160:03      him do this was even sloppier. And what happens
              160:04      is that it really aﬀects the life of a person
              160:05      and especially a valued colleague.
              160:06      She had not just been a colleague.
              160:07      She had been a friend. Of all of us. Not just
              160:08      me. She had poured her heart into Penn. She
              160:09      had taken on all kinds of duties and for him not
              160:10      to be responsible and understand how serious
              160:11      these kinds of admissions were, you know.
              160:12 Q. And did you write to him about your
              160:13      concerns?
              160:14 A. I did write to him.
              160:15 Q. Okay. Let's take a look at Exhibit
              160:16      P-20.
              160:17      Is this the series of e-mails that
              160:18      you exchanged with Professor Braham?
              160:19 A. Yes. This is a series -- I copied the
              160:20      whole faculty because I thought everyone should
              160:21      know about this.
              160:22 Q. Why don't we start, I guess, with your
              160:23      initial e-mail, which I guess is the third page
              160:24      of this exhibit.
              161:01 A. Right.
              161:02 Q. I don't know that, you know, we need to
              161:03      read it out loud.
              161:04 A. Okay.
              161:05 Q. I will have it displayed for the jury
              161:06      during your testimony as we are talking now.
              161:07      But could you tell the jury what
              161:08      your goal was in sending this communication?
              161:09 A. Well, I wanted clarification, first
              161:10      about the vote, and then I wanted to point out
              161:11      to him that I thought his description of the
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              161:12     meeting and our reading of Cathrine's work was
              161:13     real inaccurate, and that is what his letter
              161:14     should be. Yes, a chair can have their own
              161:15     opinions, you know, at the beginning, at the
              161:16     end. But his first responsibility is to
              161:17     represent the discussion of the faculty
              161:18     accurately, and I didn't think it was. I didn't
              161:19     think his summation of the letters was accurate.
              161:20     I didn't think that his summation of the
              161:21     discussion of the letters was accurate.
              161:22     So I was just, you know, I was
              161:23     really upset about this. Again, this is
              161:24     someone's life, you know. This is not just some
              162:01     kind of abstraction.
              162:02 Q. I see that you copied Marilyn Taylor on
              162:03     this as well.
              162:04 A. I did.
              162:05 Q. Why did you do that?
              162:06 A. Because I thought she should be aware of
              162:07     this. I thought any dean should investigate it,
              162:08     you know.
              162:09 Q. There is a reference, Professor Braham
              162:10     responds to you in this e-mail.
              162:11 A. Right.
              162:12 Q. But I want to focus on your
              162:13     communication to him, which is at the top of the
              162:14     exhibit, the second paragraph of your e-mail.
              162:15     You say, "The documentation put forward
              162:16     moderated evidence of considerable support of a
              162:17     faculty meeting, and in the letters, in favor of
              162:18     that which was the qualifying -- I can cite the
              162:19     letters repeatedly, as Frank did so well at the
              162:20     meeting."
              162:21     Who is that a reference to?
              162:22 A. It was Frank Matero.
              162:23 Q. What did Frank Matero do at the meeting
              162:24     that you are referencing there?
              163:01 A. I mean, again, when he threw up his
              163:02     hands and said how is that not enough, he
              163:03     pointed out all the strong parts of the letter.
              163:04 Q. And you understood Professor Matero to
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              163:05      be in support of Cathrine's case?
              163:06 A. Strongly in support, yes.
              163:07 Q. Did Dean Taylor ever reach out to you in
              163:08      response to this?
              163:09 A. No.
              163:10 Q. You never talked to her at all --
              163:11 A. Never talked to her.
              163:12 Q. -- about your concerns?
              163:13      Did anyone from the personnel
              163:14      committee considering Cathrine Veikos's case
              163:15      contact you to speak about the concerns that you
              163:16      had raised?
              163:17 A. No.
              163:18 Q. Did you have any formal role in
              163:19      connection with Cathrine Veikos's tenure review
              163:20      a er the faculty meeting?
              163:21 A. No.
              163:22 Q. Did you become aware at some point that
              163:23      the personnel committee voted against promoting?
              163:24 A. Yes.
              164:01 Q. Did you ever let Cathrine Veikos know
              164:02      that Bill Braham had changed his vote in his
              164:03      communication to the personnel committee?
              164:04 A. The proceedings of the meetings are
              164:05      supposed to be confidential. So no, I didn't
              164:06      tell her anything, but I told her later when she
              164:07      was going to the grievance committee, because I
              164:08      thought she should know that. If this was going
              164:09      to become oﬀicial, I thought she should know
              164:10      that.
              164:11 Q. To your knowledge, I think we talked
              164:12      about this a little earlier, but were you aware
              164:13      as this was going on as to whether or not Bill
              164:14      Braham's letter to the external reviewers had
              164:15      that required language in the policy on the
              164:16      extension of the probationary period that we
              164:17      talked about earlier?
              164:18 A. I didn't know that earlier. I think it
              164:19      was Cathrine that made me aware of that later.
              164:20 Q. Okay. Are you aware of any steps that
              164:21      the university took to address that error in the
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                  164:22     process?
                  164:23 A. I was told, and I think again Cathrine
                  164:24     told me that they had sent out a second letter
                  165:01     describing what language had been le out and
                  165:02     asking for external reviewers to comment and
                  165:03     whether they had anything to add to their
                  165:04     letters.
                  165:05 Q. You have had experience, as you have
                  165:06     told us, as an external reviewer for other
                  165:07     universities. Do you think that remedy was
                  165:08     adequate?
                  165:09 A. No. I mean the damage had been done.
                  165:10     Their perception of her was already set. To ask
                  165:11     for a change in the letters due to a procedural
                  165:12     seemingly technical error, that wasn't enough.
                  165:13     First of all, I wouldn't have
                  165:14     written a letter. I would have called them. I
                  165:15     would have taken a personal interest in it.
                  165:16 Q. Did you communicate at all with Cathrine
                  165:17     Veikos during her tenure review process about
                  165:18     the potential for discriminatory bias impacting
                  165:19     the decision?
                  165:20 A. We were two of the only women on the
                  165:21     faculty. We had been talking about
                  165:22     discriminatory behavior through the women's
                  165:23     forum stuﬀ. We had had many conversations
                  165:24     about this. It was, you know, it was in the
                  166:01     air.
                  166:02 Q. Did you communicate with anyone else at
                  166:03     Penn about the potential for bias in Cathrine
                  166:04     Veikos's tenure review process?
                  166:05 A. I went back to my colleagues at the
                  166:06     women's forum because we had talked about this.
                  166:07     We had talked about exactly this in the context
                  166:08     of our larger discussions of the university.
                  166:09     And I reached out them and I said, you know, I
                  166:10     don't know what to do to support this woman.
166:20 - 167:04   Fierro, Annette 2022-08-11                                    00:00:24   AF_FINAL.25
                  166:20 Q. Did you speak to anyone else at Penn
                  166:21     about the potential --

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                  166:22 A. I remember talking to David Brownlee
                  166:23     because he was a close colleague. We sit on the
                  166:24     university committees together, and he was then
                  167:01     head of the grievance committee. And so I
                  167:02     reached out and told him what had happened. And
                  167:03     he thought there was an issue, and so I told
                  167:04     Cathrine she should go see him.
168:15 - 174:19   Fierro, Annette 2022-08-11                                     00:06:59   AF_FINAL.26
                  168:15     Were you in a position to observe
                  168:16     how Cathrine Veikos reacted to Penn's decisions
                  168:17     relating to her tenure review?
                  168:18 A. Sure. She was devastated.
                  168:19 Q. Let's go back to the time when she first
                  168:20     realized that the personnel committee had voted
                  168:21     against her.
                  168:22 A. Uh-huh.
                  168:23 Q. What did you observe at that point?
                  168:24 A. This is a devastating thing for anyone.
                  169:01     But, you know, I think Cathrine had worked so
                  169:02     hard and a er her reappointment review she had
                  169:03     focused on getting this text out and she had
                  169:04     gotten the text out and she had -- you know, she
                  169:05     thought, you know, she did a tremendous amount
                  169:06     of work to do this, and so she thought her
                  169:07     colleagues would support her. And, you know,
                  169:08     when she found out that they didn't, it was
                  169:09     devastating.
                  169:10     That's already kind of a terrible
                  169:11     thing to have to face when you don't get tenure
                  169:12     because your life is upended.
                  169:13     The second time when her contract
                  169:14     was ended, that, at that point, she became
                  169:15     desperate. She had a child. Her husband is a
                  169:16     musician, travels a lot. She had no way of
                  169:17     supporting herself then a er that was taken
                  169:18     away from her.
                  169:19     At the drop of a hat, you know, she
                  169:20     found another position at the college, the
                  169:21     California College of the Arts, and she had to
                  169:22     move within like two weeks. So I mean the whole

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              169:23     thing was just, you know, unbelievably bad. She
              169:24     was devastated. She cried. She carried on.
              170:01     You know, it was just terrible. And in fact,
              170:02     you know, she's been devastated ever since. You
              170:03     know, she never did produce the second book
              170:04     because she's, you know, she was just -- she's
              170:05     devastated. She's destroyed. They destroyed
              170:06     her career.
              170:07 Q. Is it your understanding that Penn did
              170:08     conduct another review of Professor Veikos's
              170:09     promotion with tenure?
              170:10 A. Yes.
              170:11 Q. Who managed the re-review process?
              170:12 A. At this time David Leatherbarrow was now
              170:13     the acting chair. So David supervised that
              170:14     second process.
              170:15 Q. What was your understanding about
              170:16     whether you as a faculty were reviewing the same
              170:17     dossier materials?
              170:18 A. It was all done in a very hurried way.
              170:19     I remember we got a note that we had to
              170:20     re-review all of the material some time I think
              170:21     during Thanksgiving of that same year, 2011. We
              170:22     were in the middle of final exams and final
              170:23     reviews. There was no way we had time to review
              170:24     all of the material again.
              171:01     So I remember writing a note to
              171:02     David saying, you know, you know, we need more
              171:03     time to do this. And so he finally gave us more
              171:04     time.
              171:05     But I was not -- Cathrine by then
              171:06     was gone. I was not clear what the charge for
              171:07     the external letters was at that point. I don't
              171:08     know what had been said. I just know I was
              171:09     given, you know, this new thing to write a new
              171:10     letter about.
              171:11 Q. Okay. All right, let me show you what
              171:12     has been marked as P-21.
              171:13 A. Okay. This was the note I wrote to
              171:14     David.
              171:15 Q. Okay, this is an e-mail you and David
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              171:16      exchanged about the timing --
              171:17 A. Right, right.
              171:18 Q. -- of Cathrine's review?
              171:19 A. Right.
              171:20      So again, I said there's no
              171:21      possible way. 11-28, so it was Thanksgiving,
              171:22      and he wanted this done by December 5th and
              171:23      wanted another meeting by then, which was just,
              171:24      that's absurd.
              172:01      Again, this has everything that she
              172:02      has ever done. And I had reviewed it. I was
              172:03      familiar with it. But to write another letter
              172:04      in that amount of time, you know, there's no
              172:05      way.
              172:06 Q. Did you have any other concerns about
              172:07      the way the re-review process went forward?
              172:08 A. I wasn't really involved at this point,
              172:09      you know, because I had been so publicly
              172:10      supportive of Cathrine, I had circulated these
              172:11      e-mails to everyone, no one was really talking
              172:12      to me about what was going on. So I was sort of
              172:13      cut out of the, cut out of the proceeding. So
              172:14      this was one of the first things that I had
              172:15      heard about that it was scheduled again.
              172:16 Q. Do you know, do you recall whether or
              172:17      not Professor Leatherbarrow this time selected
              172:18      Ali Rahim and Marion Weiss again for the ad hoc
              172:19      committee?
              172:20 A. I didn't know that.
              172:21 Q. Okay.
              172:22 A. Yeah.
              172:23 Q. Did you have any concerns about Ali
              172:24      Rahim participating in the review process?
              173:01 A. Yes, because in the interim, Cathrine
              173:02      had been a supervisor for the second year
              173:03      studio. And this is, you know, coordinating
              173:04      five faculty under you and 70 students. Right?
              173:05      And Cathrine had been in charge of that for at
              173:06      least three or four years.
              173:07      And when Cathrine le , then Ali
              173:08      Rahim's wife was put in charge of this. And I
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                  173:09      know this all sounds crazy that this actually
                  173:10      even happens. But yes, Ali Rahim's wife was now
                  173:11      in charge of this. She was an adjunct
                  173:12      professor. She didn't have a position. Clearly
                  173:13      there's a conflict of interest.
                  173:14      You know, so I wrote to David and I
                  173:15      said, are you going to ask Ali to recuse
                  173:16      himself? His wife is directly implicated in
                  173:17      this, in Cathrine's departure.
                  173:18      I never heard anything.
                  173:19 Q. Did Ali Rahim participate in the
                  173:20      re-review?
                  173:21 A. Yes, he did, uh-huh.
                  173:22 Q. And you wrote another internal letter?
                  173:23 A. Right.
                  173:24 Q. I just want to make sure the jury has a
                  174:01      chance to see that. Look at Exhibit P-22 and
                  174:02      confirm whether or not that is your internal
                  174:03      letter for the re-review?
                  174:04 A. Yes. This is my internal letter for
                  174:05      Cathrine on her second review.
                  174:06 Q. Did your position about Professor
                  174:07      Veikos's qualifications for promotion with
                  174:08      tenure change by this point?
                  174:09 A. Why would it have? Everything was
                  174:10      essentially the same. I just -- I also knew
                  174:11      that she had gotten closer to having the book --
                  174:12      the second book accepted by Routledge. So if
                  174:13      anything, I would be inclined to support her
                  174:14      more strongly.
                  174:15 Q. By the time you wrote that internal
                  174:16      letter, were you aware that Cathrine Veikos had
                  174:17      filed a complaint of discrimination about the
                  174:18      first review?
                  174:19 A. I knew that she had received counsel.
174:24 - 180:03   Fierro, Annette 2022-08-11                                      00:05:31   AF_FINAL.27
                  174:24 Q. Did you participate in the faculty
                  175:01      meeting where Cathrine Veikos's promotion for
                  175:02      tenure was reviewed a second time?
                  175:03 A. Yes, I did.

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              175:04 Q. Do you recall who was present?
              175:05 A. All of the first group with the
              175:06      exception of Frank Matero. This time Marion
              175:07      Weiss was there. Ali Malkawi was there. He had
              175:08      not been in the first one.
              175:09 Q. What do you recall about the meeting?
              175:10 A. It was very short, you know. I think
              175:11      David walked in and the first thing that came
              175:12      out of David's mouth was, "Well, Cathrine wants
              175:13      us to do this over again, so I guess if -- she
              175:14      finds something wrong with the case, so I guess
              175:15      we have to do it over again," and was incredibly
              175:16      dismissive. And, you know, that was a kind of
              175:17      clue about what was about to happen. You know,
              175:18      it was being dismissed.
              175:19 Q. Do you remember specifically any
              175:20      comments or discussion at the meeting itself?
              175:21 A. They talked about the letters. There
              175:22      was a new set of letters that had come in. I
              175:23      think there was another letter that was a
              175:24      problem with Sylvia Lavin. There wasn't much
              176:01      discussion. Right? It was over very soon.
              176:02 Q. Did David Leatherbarrow support Cathrine
              176:03      Veikos for tenure?
              176:04 A. He was much more qualified the second
              176:05      time around and then I realized later he voted
              176:06      against her, so it is just, you know.
              176:07 Q. Let me show you another document. This
              176:08      has been marked as P-23.
              176:09      Do you recognize what that is?
              176:10 A. Yes, this is a note that Frank Matero
              176:11      wrote to David Leatherbarrow. It was a letter
              176:12      of review, much like mine had been. Very, very
              176:13      cursory.
              176:14      Now, he changes his position
              176:15      completely where before he had been a very, very
              176:16      strong advocate. Now it's just entirely
              176:17      opposite of what he had said the first time
              176:18      around.
              176:19 Q. And it is your recollection that
              176:20      Professor Matero was not at the meeting?
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              176:21 A. He was not at the meeting, but this
              176:22      letter came up in the meeting.
              176:23 Q. Okay. I just want to, again, focus on
              176:24      the text. So this was an e-mail, if looks like
              177:01      it was forwarded to you on February 1st, 2012?
              177:02 A. Right.
              177:03 Q. And it indicates Professor Matero is
              177:04      saying in the second line of his e-mail, "I
              177:05      understand I will not be able to vote due to my
              177:06      unavoidable absence at the meeting."
              177:07 A. Right.
              177:08 Q. So he didn't call in, or anything, he
              177:09      didn't participate?
              177:10 A. No, no, you have to be, by the rule of
              177:11      the department you have to be seated in the
              177:12      discussion to be able to vote.
              177:13 Q. Okay, okay.
              177:14 A. Right.
              177:15      So yeah, again, you know, I mean it
              177:16      was sort of bewildering given how strong his
              177:17      support had been the first time around.
              177:18 Q. And from your perspective there were no
              177:19      changes to the dossier --
              177:20 A. No.
              177:21 Q. -- on which you were reviewing?
              177:22 A. No.
              177:23 Q. Let's take a look at another document.
              177:24      This is P-24.
              178:01      What is this letter?
              178:02 A. This letter is a letter from Bill
              178:03      Braham -- no. David Leatherbarrow, sorry,
              178:04      sorry. David Leatherbarrow, now to Marilyn
              178:05      Taylor reporting on the, on the new meeting of
              178:06      the new letters and the new vote.
              178:07 Q. All right. So is this the department
              178:08      chair letter --
              178:09 A. Yes.
              178:10 Q. -- in connection the second review?
              178:11 A. Yes. But it went directly to the dean
              178:12      this time and not to the personnel committee.
              178:13 Q. Okay.
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                  178:14 A. Okay.
                  178:15 Q. All right. So the first paragraph there
                  178:16     confirms who was in attendance. We talked about
                  178:17     that.
                  178:18 A. Uh-huh.
                  178:19 Q. And then can you read out what the vote
                  178:20     was?
                  178:21 A. Two in favor of promotion and tenure and
                  178:22     five against.
                  178:23 Q. You voted in favor?
                  178:24 A. Of course.
                  179:01 Q. Do you know who else did?
                  179:02 A. Yes, I think Ali Malkawi did. He had
                  179:03     just recently been tenured so he was now able to
                  179:04     vote.
                  179:05 Q. And then at the end of the letter, what
                  179:06     position does Professor Leatherbarrow take on
                  179:07     the case?
                  179:08 A. He takes, he takes an against, an
                  179:09     against vote. "I concur with the majority
                  179:10     view." I am reading this now. "Colleagues felt
                  179:11     that the majority of external letters expressed
                  179:12     significant doubts about the case, about the
                  179:13     level, quality, and impact of the scholarship."
                  179:14     He talked about Cathrine being an
                  179:15     eﬀective teacher again, contributing practical
                  179:16     expertise, theoretical inquiry, but, you know,
                  179:17     essentially.
                  179:18 Q. And was that diﬀerent from your
                  179:19     understanding of his position the first time?
                  179:20 A. Certainly. He had been very strong, he
                  179:21     had been a very strong supporter. So I don't
                  179:22     know how his position changed on her work.
                  179:23 Q. Other than you, are there any women in
                  179:24     the department of architecture who have had
                  180:01     children during the probationary period at Penn
                  180:02     who also achieved tenure?
                  180:03 A. No.
185:24 - 186:16   Fierro, Annette 2022-08-11                                     00:00:30   AF_FINAL.28
                  185:24 Q. Hi, Professor Fierro. I want to

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                  186:01      introduce myself. I know we have met before.
                  186:02 A. Yes.
                  186:03 Q. I want to introduce myself on the
                  186:04      record. I am Ali Kliment and I represent the
                  186:05      University of Pennsylvania in the lawsuit that
                  186:06      was filed by Cathrine Veikos.
                  186:07      My understanding from your earlier
                  186:08      testimony is that we are here today because you
                  186:09      are unavailable to testify at trial.
                  186:10 A. Right.
                  186:11 Q. And you are going to be in Paris on an
                  186:12      academic sabbatical?
                  186:13 A. Yes.
                  186:14 Q. I also will not be at trial, as you
                  186:15      know. I will be on maternity leave. But since
                  186:16      we met previously for your deposition --
186:19 - 187:12   Fierro, Annette 2022-08-11                                      00:00:35   AF_FINAL.29
                  186:19 Q. I thought it would make sense for me to
                  186:20      question you in response to questions from
                  186:21      Cathrine's lawyer.
                  186:22 A. Okay.
                  186:23 Q. You testified earlier that you have gone
                  186:24      up for tenure and been promoted with tenure in
                  187:01      the department of architecture; right?
                  187:02 A. Yes.
                  187:03 Q. And that was in 2002?
                  187:04 A. Yes.
                  187:05 Q. At the time you went up for tenure, Bill
                  187:06      Braham, David Leatherbarrow, Marion Weiss,
                  187:07      Witold Rybcznski and Frank Matero, they were all
                  187:08      tenured professors; right?
                  187:09 A. Yes.
                  187:10 Q. So you would expect that they would have
                  187:11      voted on your tenure case?
                  187:12 A. Uh-huh, yes.
187:16 - 188:08   Fierro, Annette 2022-08-11                                      00:00:34   AF_FINAL.30
                  187:16 Q. And they voted in favor of granting you
                  187:17      tenure?
                  187:18 A. I had heard it was unanimous, so yes.
                  187:19 Q. And that is because were you qualified

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                  187:20      for tenure?
                  187:21 A. I hope so.
                  187:22 Q. You have no reason to doubt that they
                  187:23      voted on anything other than your qualifications,
                  187:24      do you?
                  188:01 A. Nope.
                  188:02 Q. And the same faculty members that I just
                  188:03      mentioned, they voted on Cathrine's tenure case;
                  188:04      right?
                  188:05 A. Yes.
                  188:06 Q. David Leatherbarrow and Bill Braham
                  188:07      actually submitted very positive letters in
                  188:08      support of your tenure case?
188:13 - 188:13   Fierro, Annette 2022-08-11                                       00:00:03   AF_FINAL.31
                  188:13      MS. KLIMENT: So we can do D-1.
188:18 - 189:01   Fierro, Annette 2022-08-11                                       00:00:16   AF_FINAL.32
                  188:18 Q. If you look at the second page of this
                  188:19      exhibit, it is signed by Bill Braham?
                  188:20 A. Yes, uh-huh.
                  188:21 Q. Would you understand this to be a letter
                  188:22      that Bill Braham wrote regarding your tenure
                  188:23      review?
                  188:24 A. I would suppose so, yeah. As I said,
                  189:01      I've never seen this, so I don't recognize it.
189:07 - 189:21   Fierro, Annette 2022-08-11                                       00:00:30   AF_FINAL.33
                  189:07 Q. I want to direct your attention to the
                  189:08      first paragraph of the letter.
                  189:09 A. Okay.
                  189:10 Q. It says, "I am more than honored to
                  189:11      write a letter of reference and support for
                  189:12      Annette Fierro's promotion to associate
                  189:13      professor in the department of architecture. I
                  189:14      have nothing but the deepest respect for Annette
                  189:15      and her work, and my greatest diﬀiculty in
                  189:16      writing this letter comes from recognizing how
                  189:17      much I will have to leave out."
                  189:18      Would you agree that that is a
                  189:19      positive comment from Bill Braham regarding your
                  189:20      tenure qualifications?
                  189:21 A. It is very nice, yes.
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190:08 - 190:19   Fierro, Annette 2022-08-11                                       00:00:35   AF_FINAL.34
                  190:08 Q. If you turn to the second page of the
                  190:09       exhibit, the very bottom, the last sentence it
                  190:10       says, "I am confident that Annette will continue
                  190:11       to teach and amaze us with the discoveries in
                  190:12       her research and can only conclude by urging you
                  190:13       to award her the promotion she has earned."
                  190:14       Is it fair to say Bill was strongly
                  190:15       supporting your tenure case?
                  190:16 A. Yes, in this letter, if this is his
                  190:17       letter, yes.
                  190:18       MS. KLIMENT: I wanted to show you
                  190:19       another document D-2.
190:24 - 191:07   Fierro, Annette 2022-08-11                                       00:00:14   AF_FINAL.35
                  190:24 Q. Looking at the document, the top right
                  191:01       side dated February 17, 2002.
                  191:02 A. Right.
                  191:03 Q. The first sentence says, "I write in
                  191:04       reply to your request to consider the promotion
                  191:05       and tenure of Assistant Professor Annette
                  191:06       Fierro."
                  191:07 A. Right.
191:13 - 192:19   Fierro, Annette 2022-08-11                                       00:01:34   AF_FINAL.36
                  191:13 Q. If you turn to the second page of this
                  191:14       exhibit, it is signed by David Leatherbarrow?
                  191:15 A. Uh-huh.
                  191:16 Q. Yes?
                  191:17 A. Yes, uh-huh.
                  191:18 Q. All right. The last sentence on this
                  191:19       page says, "This level of scholarly production
                  191:20       and teaching eﬀectiveness would, I think,
                  191:21       entitle her to promotion and tenure at our peer
                  191:22       institutions."
                  191:23 A. Yes.
                  191:24 Q. Fair to say that he too was providing a
                  192:01       letter of support for your tenure case?
                  192:02 A. Yes.
                  192:03 Q. I think you testified earlier that you
                  192:04       heard that you received unanimous support from
                  192:05       the department faculty --
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                  192:06 A. Yes.
                  192:07 Q. -- and also the personnel committee for
                  192:08     your tenure review?
                  192:09 A. I don't know that.
                  192:10 Q. D-3.
                  192:11     Top le side, this is a letter
                  192:12     dated February 26th of 2012?
                  192:13 A. Uh-huh.
                  192:14 Q. And if you look at the second page, it
                  192:15     is signed by Peter McCleary?
                  192:16 A. Yes.
                  192:17 Q. Who is Peter McCleary?
                  192:18 A. Peter McCleary is now a professor
                  192:19     emeritus of architecture. He has retired.
192:23 - 194:13   Fierro, Annette 2022-08-11                                     00:01:30   AF_FINAL.37
                  192:23 Q. In February of 2002, do you know what
                  192:24     Peter McCleary's position was?
                  193:01 A. I suppose he was, as the letter says,
                  193:02     chair, department of architecture personnel
                  193:03     committee.
                  193:04 Q. Okay.
                  193:05     So I want to direct your attention
                  193:06     to the first two paragraphs.
                  193:07 A. Okay.
                  193:08 Q. On the first page.
                  193:09 A. Uh-huh.
                  193:10 Q. The first one says, "At a meeting of the
                  193:11     department of architecture's personnel committee
                  193:12     comprised of all members of the standing faculty
                  193:13     in the department of architecture on 20 February
                  193:14     2002, the committee voted unanimously to
                  193:15     recommend the promotion of Annette Fierro to the
                  193:16     position of associate professor with tenure in
                  193:17     the department of architecture."
                  193:18     Do you see that?
                  193:19 A. Yes, uh-huh.
                  193:20 Q. Any reason to believe they did not vote
                  193:21     unanimously in favor of you?
                  193:22 A. No reason to believe.
                  193:23 Q. Okay. The next paragraph says, "The

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                  193:24      seven tenured standing faculty in architecture
                  194:01      who were present at the meeting and voted yes
                  194:02      were," and then it lists "Leatherbarrow,
                  194:03      Rybcznski, Braham, and Weiss." And it also
                  194:04      notes that "Associate Professor Matero voted
                  194:05      yes."
                  194:06      Do you see that?
                  194:07 A. Yes.
                  194:08 Q. So all of them voted in favor of your
                  194:09      tenure review?
                  194:10 A. Yes.
                  194:11 Q. So I asked you earlier about the
                  194:12      personnel committee vote in your case as well.
                  194:13      D-4.
194:18 - 196:19   Fierro, Annette 2022-08-11                                    00:01:42   AF_FINAL.38
                  194:18 Q. This is a letter dated April 3rd, 2002.
                  194:19 A. Okay.
                  194:20 Q. And if you look at the second page, it
                  194:21      is signed by Witold Rybcznski.
                  194:22 A. (Witness nods.)
                  194:23 Q. Sorry. Yes.
                  194:24 A. Yes, uh-huh.
                  195:01 Q. And he is listed as chair, personnel
                  195:02      committee; right?
                  195:03 A. Okay.
                  195:04 Q. If you look at the --
                  195:05 A. I think Peter was. That's what the last
                  195:06      letter was.
                  195:07 Q. I think Peter was the chair of the
                  195:08      department.
                  195:09 A. Oh, I see, department, okay. Got it,
                  195:10      okay.
                  195:11 Q. So this letter that we are looking at,
                  195:12      D-4, is from Witold Rybcznski.
                  195:13 A. Okay.
                  195:14 Q. To Dean Gary Hack; right?
                  195:15 A. Right, uh-huh.
                  195:16 Q. And if you look at the first paragraph
                  195:17      of the letter, it says, "The GSFA."
                  195:18      Do you know what GSFA is?

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                  195:19 A. Yes. The Graduate School of Fine Arts.
                  195:20      That was our former name.
                  195:21 Q. "The GSFA personnel committee met on
                  195:22      April 2 to review the promotion of Annette
                  195:23      Fierro to associate professor of architecture
                  195:24      with tenure. Present were Professors John Dixon
                  196:01      Hunt, Witold Rybcznski and Robert Slutzky."
                  196:02 A. Robert Slutzky is also an emeritus, yes.
                  196:03 Q. "Professor Peter McCleary was absent.
                  196:04      Professor John Keene recused himself from
                  196:05      discussion and voting on the case."
                  196:06      Do you see that?
                  196:07 A. Yes, uh-huh.
                  196:08 Q. And if you turn to the back of this
                  196:09      exhibit, the second page. Yep. The last
                  196:10      sentence says, "The four members of the
                  196:11      committee who voted voted unanimously to promote
                  196:12      Annette Fierro, associate professor of
                  196:13      architecture, with tenure, Peter McCleary voting
                  196:14      in absentia."
                  196:15      Do you see that?
                  196:16 A. Yes.
                  196:17 Q. So the personnel committee voted
                  196:18      unanimously in favor of promoting you?
                  196:19 A. Yes.
196:24 - 204:02   Fierro, Annette 2022-08-11                                      00:07:50   AF_FINAL.39
                  196:24 A. Okay.
                  197:01 Q. I think you testified earlier that at
                  197:02      the time you went up for tenure you had two
                  197:03      young children?
                  197:04 A. Uh-huh.
                  197:05 Q. And a er the birth of each of your
                  197:06      kids, you took a semester oﬀ with pay?
                  197:07 A. Yes, uh-huh.
                  197:08 Q. And David Leatherbarrow supported you
                  197:09      taking that semester oﬀ?
                  197:10 A. Not entirely.
                  197:11 Q. He approved the semester oﬀ?
                  197:12 A. He did approve it.
                  197:13 Q. Okay.

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              197:14     You also got an extension of your
              197:15     probationary period for both of your kids?
              197:16 A. Yes.
              197:17 Q. When the faculty in the department of
              197:18     architecture considered your tenure case, they
              197:19     were aware that you had two children?
              197:20 A. Yes. Uh-huh.
              197:21 Q. And that you had extended your
              197:22     probationary period?
              197:23 A. Yes, uh-huh.
              197:24 Q. And Bill Braham, David Leatherbarrow,
              198:01     Witold Rybcznski, Marion Weiss and Frank Matero,
              198:02     they all voted in favor of you?
              198:03 A. Yes.
              198:04 Q. So you received support from some of the
              198:05     same departmental faculty who voted against
              198:06     Cathrine?
              198:07 A. Yes.
              198:08 Q. And you were ultimately granted tenure?
              198:09 A. Yes.
              198:10 Q. Before you went up for tenure, Marion
              198:11     Weiss went up for tenure; right?
              198:12 A. Yes.
              198:13 Q. And she was promoted with tenure?
              198:14 A. Yes.
              198:15 Q. At the time that she went up for tenure,
              198:16     David Leatherbarrow and Frank Matero were both
              198:17     tenured faculty?
              198:18 A. Yes.
              198:19 Q. She also received unanimous support;
              198:20     right?
              198:21 A. Right. Actually, I don't know that. I
              198:22     was not in that meeting.
              198:23 Q. And Marion Weiss remains a tenured
              198:24     faculty member within the department?
              199:01 A. No.
              199:02 Q. She is not tenured?
              199:03 A. She has stepped out of her tenured
              199:04     position to work on her practice. I think she's
              199:05     aﬀiliated faculty now.
              199:06 Q. As of Cathrine's tenure review in 2011
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              199:07      and 2012, Marion Weiss was a tenured faculty
              199:08      member?
              199:09 A. Yes, uh-huh.
              199:10 Q. You testified earlier about Franca
              199:11      Trubiana?
              199:12 A. Uh-huh.
              199:13 Q. Since you and Marion went up for tenure,
              199:14      Franca also was considered for tenure?
              199:15 A. Yes.
              199:16 Q. And I believe you testified earlier that
              199:17      Franca is a woman?
              199:18 A. Yes.
              199:19 Q. You were part of the tenured faculty who
              199:20      voted on her case?
              199:21 A. Yes.
              199:22 Q. Other faculty members who voted on her
              199:23      case were Bill Braham, David Leatherbarrow,
              199:24      Frank Matero and Ali Rahim?
              200:01 A. Yes, uh-huh.
              200:02 Q. Bill Braham submitted a letter in
              200:03      support of Franca, didn't he?
              200:04 A. I don't remember. I wrote one of the
              200:05      letters for Franca also.
              200:06      MS. KLIMENT: I think, Julie, you
              200:07      have this, so give me one second.
              200:08      MS. UEBLER: The department letter
              200:09      and the CV is in that exhibit. Nothing else.
              200:10      MS. KLIMENT: Good point. Thank
              200:11      you.
              200:12      BY MS. KLIMENT:
              200:13 Q. So I am going to give you Bill Braham's
              200:14      letter. D-5.
              200:15      D-5 is a letter dated
              200:16      September 14th of 2015?
              200:17 A. Right.
              200:18 Q. And it is signed by Bill Braham?
              200:19 A. Right.
              200:20 Q. As part of Franca's tenure case, you
              200:21      would have reviewed this internal letter?
              200:22 A. Yes. I also wrote a letter.
              200:23 Q. I want to direct you to the first
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              200:24      sentence in the letter. It reads, "I am more
              201:01      than pleased to write a letter of support for
              201:02      Franca Trubiana's promotion to professor with
              201:03      tenure."
              201:04      Do you see that?
              201:05 A. Yes.
              201:06 Q. Then in that same paragraph the last
              201:07      sentence says, "At the outset, let me express my
              201:08      strong support for her promotion," and then it
              201:09      continues?
              201:10 A. Right, uh-huh.
              201:11 Q. If you turn to the last page of the
              201:12      exhibit, the last paragraph.
              201:13 A. Okay.
              201:14 Q. It says, "Franca Trubiano has been an
              201:15      excellent colleague and collaborator and is
              201:16      providing valuable leadership within the
              201:17      department, most recently as associate chair. I
              201:18      can only conclude with my strongest
              201:19      recommendation for this promotion."
              201:20      Do you see that?
              201:21 A. Yes, uh-huh.
              201:22 Q. Would you agree that this is a
              201:23      supportive letter from Bill Braham for Franca?
              201:24 A. I would.
              202:01 Q. Do you recall whether Frank Matero
              202:02      submitted a letter in Franca Trubiano's tenure
              202:03      case?
              202:04 A. No, I don't.
              202:05 Q. D-6.
              202:06      So this is a letter dated
              202:07      September 15th of 2015. Do you see that?
              202:08 A. Okay.
              202:09 Q. Do you see that?
              202:10 A. Uh-huh.
              202:11 Q. And the second page is signed by Frank
              202:12      Matero; right?
              202:13 A. Yes, uh-huh.
              202:14 Q. I want to direct your attention to the
              202:15      first page and it is the first paragraph, second
              202:16      sentence. It says, "A er a careful review of
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                  202:17      her dossier, I am delighted to voice my
                  202:18      strongest support for her promotion."
                  202:19      Do you see that?
                  202:20 A. Yes, uh-huh.
                  202:21 Q. And then if you turn the page, the last
                  202:22      sentence in the last paragraph says, "Again,
                  202:23      Franca Trubiana's accomplishments more than
                  202:24      satisfy my endorsement for promotion to
                  203:01      associate professor with tenure."
                  203:02      Do you see that?
                  203:03 A. I do.
                  203:04 Q. Would you agree that this is also a
                  203:05      supportive letter by Frank Matero for Franca's
                  203:06      tenure case?
                  203:07 A. It is.
                  203:08 Q. Franca received unanimous support from
                  203:09      the department of architecture; right?
                  203:10 A. Yes, she did.
                  203:11 Q. So Bill, David, Frank and Ali all voted
                  203:12      in favor of Franca's tenure case?
                  203:13 A. As did I.
                  203:14 Q. She also received unanimous support at
                  203:15      the personnel committee level?
                  203:16 A. Uh-huh.
                  203:17 Q. Yes?
                  203:18 A. Yes, uh-huh. I mean I don't know that.
                  203:19      I'm not -- I don't know.
                  203:20 Q. Do you have any reason to believe she
                  203:21      did not get unanimous support?
                  203:22 A. I am not involved at that level so I
                  203:23      don't know what the vote is.
                  203:24      I'm also not privy to those letters
                  204:01      so I don't know.
                  204:02 Q. D-7.
204:08 - 206:11   Fierro, Annette 2022-08-11                                    00:02:07   AF_FINAL.40
                  204:08 Q. This is a letter dated October 28, 2015.
                  204:09 A. Okay.
                  204:10 Q. And if you look at the last page of the
                  204:11      exhibit, it is signed by Professor David
                  204:12      Leatherbarrow?

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              204:13 A. Yes.
              204:14 Q. As the chair of the personnel committee?
              204:15 A. Okay.
              204:16 Q. And if you go to the first page, the
              204:17      first paragraph, it says, "The personnel
              204:18      committee of the school of design met on
              204:19      October 28th, 2015, to consider the promotion of
              204:20      Assistant Professor Franca Trubiano to the rank
              204:21      of associate professor of architecture with
              204:22      tenure. The committee in attendance, Professors
              204:23      Lum, Tomlin and myself voted unanimously, three
              204:24      in favor and three against."
              205:01      Do you see that?
              205:02 A. And none against.
              205:03 Q. Sorry. "None against." Thank you for
              205:04      that clarification. So they voted unanimously
              205:05      in favor of Franca?
              205:06 A. Yes.
              205:07 Q. And as the chair, David Leatherbarrow
              205:08      oﬀered a supportive letter?
              205:09 A. Right. I would assume so, yeah.
              205:10 Q. Well, let me direct your attention to
              205:11      the last paragraph of this letter. This is
              205:12      David's letter; right?
              205:13 A. If you say so. I don't have it.
              205:14 Q. The one that we are looking at.
              205:15 A. Oh, okay.
              205:16 Q. David Leatherbarrow signed it?
              205:17 A. Right, uh-huh.
              205:18 Q. The last paragraph says, "Based on these
              205:19      reviews and the professional recognition she has
              205:20      achieved, the committee voted unanimously in
              205:21      support of this appointment as noted above. The
              205:22      personnel committee joins me in urging you to
              205:23      support Franca Trubiana's promotion to the rank
              205:24      of associate professor of architecture with
              206:01      tenure."
              206:02 A. Yes, uh-huh.
              206:03 Q. When Franca went up for tenure, Marilyn
              206:04      Taylor was the dean of the school of design;
              206:05      right?
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                  206:06 A. Uh-huh.
                  206:07 Q. Dean Taylor also supported her
                  206:08      candidacy?
                  206:09 A. Uh-huh. I assume so. She got tenure,
                  206:10      yes.
                  206:11 Q. D-8.
206:19 - 216:06   Fierro, Annette 2022-08-11                                      00:09:25   AF_FINAL.41
                  206:19 Q. This is a letter dated November 20th of
                  206:20      2015; right?
                  206:21 A. Right, uh-huh.
                  206:22 Q. And if you look at the final page, it is
                  206:23      signed by Marilyn Taylor?
                  206:24 A. Right.
                  207:01 Q. And the first sentence, so back to the
                  207:02      first page -- sorry --
                  207:03 A. Okay.
                  207:04 Q. -- says I am pleased to present the
                  207:05      dossier of Dr. Franca Trubiana and to recommend
                  207:06      her with great enthusiasm for promotion to
                  207:07      associate professor with tenure in the school of
                  207:08      design."
                  207:09      Do you see that?
                  207:10 A. Yes, I do.
                  207:11 Q. So like you, Franca received support
                  207:12      from some of the same tenured faculty members in
                  207:13      the department who voted against Cathrine;
                  207:14      right?
                  207:15 A. Yes, uh-huh.
                  207:16 Q. And she was, Franca was ultimately
                  207:17      promoted with tenure?
                  207:18 A. Yes, uh-huh.
                  207:19 Q. I want to switch and talk a little bit
                  207:20      about external reviewers. You have testified at
                  207:21      length about external reviewers.
                  207:22      I believe you testified earlier
                  207:23      that you and Cathrine were friends?
                  207:24 A. Yes.
                  208:01 Q. You had a close relationship?
                  208:02 A. We were colleagues, close colleagues,
                  208:03      yeah.

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              208:04 Q. You also testified that you were
              208:05      disappointed that she was denied tenure?
              208:06 A. Certainly, uh-huh.
              208:07 Q. When considering a candidate for tenure,
              208:08      it is important not to base the decision based
              208:09      on friendship or personal feelings about the
              208:10      candidate; right?
              208:11 A. Certainly.
              208:12 Q. So assessments of whether a candidate
              208:13      should be promoted with tenure should be based
              208:14      on their objective qualifications?
              208:15 A. Certainly.
              208:16 Q. And whether you like or dislike someone
              208:17      personally should not be a factor?
              208:18 A. That is certainly right, uh-huh.
              208:19 Q. Would you agree that external reviewers
              208:20      are less likely to know candidates or tenured
              208:21      candidates personally than members of the
              208:22      department?
              208:23 A. Certainly. That's why they are asked.
              208:24 Q. O en external reviewers probably
              209:01      haven't even met the candidates that they are
              209:02      reviewing; right?
              209:03 A. I think technically external reviewers,
              209:04      some have knowledge of the candidates and some
              209:05      don't.
              209:06 Q. So external reviewers are diﬀerent from
              209:07      members of the department who worked with and
              209:08      have gotten to know the candidate personally?
              209:09 A. Definitely.
              209:10 Q. I think you testified before that it is
              209:11      expected that the external reviewers will be
              209:12      more knowledgeable about the candidate's field
              209:13      or work than members of the department?
              209:14 A. Hopefully, yes.
              209:15 Q. That is why they are selected to do the
              209:16      external reviews?
              209:17 A. Hopefully, yes.
              209:18 Q. Is it fair to say that no member of the
              209:19      department would have known more about
              209:20      Cathrine's field than the external reviewers
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              209:21      that were selected in her case?
              209:22 A. About the field? I'm not sure. Because
              209:23      that was a question that came up, whether these
              209:24      people were in the field. So I don't know.
              210:01 Q. You testified earlier about Anthony
              210:02      Vidler; right?
              210:03 A. Yes, uh-huh.
              210:04 Q. And said that he was very knowledgeable
              210:05      with Cathrine's field; right?
              210:06 A. He's very knowledgeable period. He's
              210:07      written about all kinds of things.
              210:08 Q. Do you think there were any members of
              210:09      the department who were more knowledgeable than
              210:10      him?
              210:11 A. About the field? No.
              210:12 Q. Typically external reviewers are used to
              210:13      help members at Penn who are less familiar with
              210:14      the candidate's field to understand the work,
              210:15      its impact, its significance?
              210:16 A. I think that's how they are used
              210:17      everywhere, yeah.
              210:18 Q. And we talked a little bit earlier about
              210:19      they are also important because they're
              210:20      objective?
              210:21 A. Yes, uh-huh.
              210:22 Q. We talked or you talked with Julie about
              210:23      the ad hoc committee for Cathrine's tenure case?
              210:24 A. Yes.
              211:01 Q. Do you recall that?
              211:02 A. Uh-huh.
              211:03 Q. And you testified that Marion Weiss and
              211:04      Ali Rahim were members of the ad hoc committee?
              211:05 A. That's right.
              211:06 Q. When you learned that Marion and Ali
              211:07      were the ad hoc committee members, did you have
              211:08      any discussions with Bill Braham about why he
              211:09      selected them?
              211:10 A. I think the date of that shows that I
              211:11      didn't know in advance. I wish I had because
              211:12      maybe I would have. But I didn't do anything
              211:13      that day, no.
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              211:14 Q. Okay. So you did not discuss with Bill
              211:15      his selection of Marion and Ali?
              211:16 A. No, uh-uh.
              211:17 Q. So you don't know why he chose them?
              211:18 A. No.
              211:19 Q. When you learned that Marion and Ali
              211:20      were selected, did you tell Bill Braham or
              211:21      anyone else at Penn that you felt that they were
              211:22      not the right selection for the ad hoc
              211:23      committee?
              211:24 A. I think I said something to him later
              212:01      about that, but at the time, no. No.
              212:02 Q. Did you ask Bill Braham to select
              212:03      someone else other than Ali Rahim or Marion
              212:04      Weiss?
              212:05 A. I already said I didn't talk to him. So
              212:06      no.
              212:07 Q. Did you talk to any one on the personnel
              212:08      committee about your views of selection of Ali
              212:09      Rahim and Marion Weiss to the ad hoc committee?
              212:10 A. No. You have to understand, I had
              212:11      already raised serious objections in the letter
              212:12      to Bill. There is just so much stuﬀ that you
              212:13      can put out there without damaging your
              212:14      credibility. I had already really pushed hard
              212:15      by the letter that I had written to Bill.
              212:16 Q. You testified earlier about the
              212:17      April 6th faculty meeting during Cathrine's
              212:18      initial tenure review.
              212:19 A. Right.
              212:20 Q. Do you recall that?
              212:21 A. Yes.
              212:22 Q. And you testified earlier that the
              212:23      faculty heavily discussed the content of the
              212:24      external letters?
              213:01 A. Yes.
              213:02 Q. The faculty discussed concerns that were
              213:03      raised by some of the external reviewers?
              213:04 A. Yes, uh-huh.
              213:05 Q. And there was discussion of Judith
              213:06      Sheine's letter because it was particularly
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              213:07     negative?
              213:08 A. Right.
              213:09 Q. Some faculty seemed to give more weight
              213:10     to the criticisms in the external reviewers'
              213:11     letters?
              213:12 A. I have a hard time remembering, you
              213:13     know, how that discussion went specifically. We
              213:14     were all concerned because whenever there is
              213:15     even a negative sentence in the reviewers, it
              213:16     qualifies a candidate. So a lot of time is
              213:17     spent looking at the letters for negative
              213:18     perceptions.
              213:19 Q. During the faculty meeting, some faculty
              213:20     expressed that Cathrine's case was weak, didn't
              213:21     they?
              213:22 A. I think we were concerned because of
              213:23     some of the letters. I know Ali said the case
              213:24     was weak, but I don't remember anyone else
              214:01     saying the case was weak in that meeting. I
              214:02     know that there has been discussion on that, but
              214:03     honestly, I don't. I think we talked about, you
              214:04     know, how it was hanging in the balance because
              214:05     of the letters, but I don't really remember
              214:06     anyone saying that her case was weak.
              214:07 Q. Do you recall an exchange with Witold
              214:08     Rybcznski a er the faculty member -- a er the
              214:09     faculty meeting regarding any comments by
              214:10     faculty that the case was weak?
              214:11 A. I think when I wrote the note to Bill
              214:12     and copied all of the faculty, I think he wrote
              214:13     back to Bill and said that he remembered people
              214:14     saying it was weak, but I don't remember that.
              214:15 Q. And "he," is Witold?
              214:16 A. Yes, he is Witold, yes, Witold
              214:17     Rybcznski, yeah.
              214:18 Q. And at the time of the meeting you had
              214:19     reviewed the ad hoc committee report --
              214:20 A. Yes.
              214:21 Q. -- that was prepared by Marion and Ali?
              214:22 A. Yes.
              214:23 Q. So at the time of the meeting, at least
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                  214:24      three members of the department, Marion Weiss,
                  215:01      Ali Rahim and Witold Rybcznski had expressed
                  215:02      concerns about the strength of Cathrine's tenure
                  215:03      case?
                  215:04 A. I believe Witold voted for her.
                  215:05      So Marion wasn't at the meeting.
                  215:06      The letter was not exactly damning. It was just
                  215:07      not really well informed. I knew that Ali
                  215:08      wasn't going to support Cathrine. But the
                  215:09      others were nebulous.
                  215:10 Q. You didn't consider the ad hoc committee
                  215:11      report by Marion and Ali to be negative?
                  215:12 A. Well, I don't think it was damning. I
                  215:13      think they sort of said a lot of things, which
                  215:14      to me indicated they really didn't understand
                  215:15      the work.
                  215:16 Q. So you didn't have any concerns about
                  215:17      the ad hoc committee report being negative?
                  215:18 A. It wasn't that it was -- it was damning
                  215:19      in its neutrality, you know? Like when letters
                  215:20      are too short, it is damning in neutrality.
                  215:21 Q. I want to talk a little bit about what
                  215:22      we have referred as the re-review.
                  215:23 A. Uh-huh.
                  215:24 Q. So the second tenure review in 2012.
                  216:01 A. Okay.
                  216:02 Q. Is it fair to say that giving someone a
                  216:03      second tenure review is uncommon at Penn?
                  216:04 A. Right.
                  216:05 Q. You agreed with the decision to give
                  216:06      Cathrine a new review though; right?
216:09 - 220:01   Fierro, Annette 2022-08-11                                      00:04:34   AF_FINAL.42
                  216:09      THE WITNESS: I agreed -- I thought
                  216:10      given all of the irregularities, I thought
                  216:11      certainly she should get another review.
                  216:12      BY MS. KLIMENT:
                  216:13 Q. You testified earlier that at the time
                  216:14      of Cathrine's re-review in 2012 David
                  216:15      Leatherbarrow was the chair; is that right?
                  216:16 A. Yes, uh-huh.

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              216:17 Q. And I think you also testified that in
              216:18      the initial review he had supported Cathrine?
              216:19 A. Right.
              216:20 Q. And he had voted in favor of granting
              216:21      her tenure in the initial review?
              216:22 A. Yes.
              216:23 Q. In the re-review, there was an entirely
              216:24      new set of external reviews; right?
              217:01 A. Yes.
              217:02 Q. So that meant that David Leatherbarrow
              217:03      and the rest of the faculty would be looking at
              217:04      new information?
              217:05 A. New letters, yeah. Not really new
              217:06      material.
              217:07 Q. New external assessments of Cathrine?
              217:08 A. Right, uh-huh.
              217:09 Q. And all the faculty, including David,
              217:10      would be expected to consider the new letters?
              217:11 A. How people on the faculty incorporate
              217:12      their regard for the external letters o en
              217:13      depends on whether they agree with them or not.
              217:14      I would say I think it is more fair to say that
              217:15      their impression of the candidate is governed by
              217:16      all kind of diﬀerent factors.
              217:17 Q. When you got, when you were assessing
              217:18      Cathrine in the re-review, did you review the
              217:19      external letters?
              217:20 A. I did lots of them, yes. I didn't
              217:21      include them because I hadn't really had time to
              217:22      read them.
              217:23 Q. Do you have any reason to believe that
              217:24      the other faculty did not review the external
              218:01      letters?
              218:02 A. I have no idea.
              218:03 Q. The external letters that were received
              218:04      in the re-review --
              218:05 A. Uh-huh.
              218:06 Q. -- they were more critical of Cathrine's
              218:07      case than the first set, weren't they?
              218:08 A. A bit more, yeah. I think there was one
              218:09      letter, which was interesting.
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              218:10 Q. Let's look at a few.
              218:11     D-9.
              218:12     This is a letter dated
              218:13     November 18th of 2011.
              218:14 A. Right.
              218:15 Q. And if you look at the second page, it
              218:16     is signed by Sylvia Lavin.
              218:17 A. That's right.
              218:18 Q. And she was an external reviewer during
              218:19     Cathrine's re-review?
              218:20 A. That's right.
              218:21 Q. I want to direct your attention to the
              218:22     second paragraph on the first page.
              218:23 A. Right.
              218:24 Q. It reads, "The most troubling feature of
              219:01     the dossier is the candidate's diﬀiculty in
              219:02     distinguishing her work from that of others and
              219:03     therefore in articulating the epistemological
              219:04     basis of her research. Her text on Lina
              219:05     Bo Bardi is cursory rather than scholarly, and
              219:06     while translation is certainly an onerous task,
              219:07     it does not rise to the occasion of research and
              219:08     risks, instead suggesting that Ms. Veikos does
              219:09     not see where her work on Bo Bardi's stops and
              219:10     Bo Bardi's own work begins.
              219:11     Do you see that?
              219:12 A. I do.
              219:13 Q. Then I want to direct your attention to
              219:14     the second page, the final paragraph which
              219:15     reads, "While Miss Veikos seems keenly
              219:16     interested in teaching, her achievements are not
              219:17     on a par with others at her level and she would
              219:18     not be recommended to tenure at either
              219:19     Princeton, where I am a visiting professor, nor
              219:20     at UCLA, where I was chair for ten years."
              219:21     Do you see that?
              219:22 A. I do.
              219:23 Q. Would you agree that that is critical of
              219:24     Cathrine's tenure case?
              220:01 A. It is.


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220:07 - 222:22   Fierro, Annette 2022-08-11                                     00:03:21   AF_FINAL.43
                  220:07 Q. Let's look at another letter.
                  220:08     D-10. Let me know when you have
                  220:09     had a chance to look at it.
                  220:10 A. (Pause.)
                  220:11     Okay.
                  220:12 Q. Okay, so D-10 is a letter dated
                  220:13     January 25th of 2012; right?
                  220:14 A. Right, uh-huh.
                  220:15 Q. It is signed by Jean-Louis Cohen. My
                  220:16     French is not very good. Is that right?
                  220:17 A. You did well.
                  220:18 Q. Thank you.
                  220:19     I want to direct your attention to
                  220:20     the second page of the exhibit.
                  220:21 A. Okay.
                  220:22 Q. The middle paragraph, second sentence,
                  220:23     it starts with "Considering." Do you see that?
                  220:24 A. I do.
                  221:01 Q. And it reads, "Considering all the
                  221:02     elements communicated, my perception is Cathrine
                  221:03     Veikos is a competent instructor and critic, but
                  221:04     the incomplete status of her introduction to
                  221:05     Bo Bardi's writings doesn't lead me to reach
                  221:06     definitive conclusions in respect to her
                  221:07     scholarly qualification."
                  221:08     Do you see that?
                  221:09 A. I do.
                  221:10 Q. It continues, "Active and up to date in
                  221:11     respect to contemporary developments in theory
                  221:12     and criticism, she would probably need to break
                  221:13     the mold and enlarge her interpretation to
                  221:14     architects other than Bo Bardi a er having
                  221:15     completed and published her first long work in
                  221:16     order to fully demonstrate the validity of her
                  221:17     critical hypothesis."
                  221:18     Do you see that?
                  221:19 A. Yes. That points to her future, yes.
                  221:20 Q. And one more.
                  221:21     D-11.
                  221:22     Let me know when you get a chance
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                  221:23      to look at it.
                  221:24 A. (Pause.)
                  222:01      Okay.
                  222:02 Q. So this is a letter dated January 20th
                  222:03      of 2012?
                  222:04 A. Right.
                  222:05 Q. And it is signed by Mark Linder?
                  222:06 A. Uh-huh.
                  222:07 Q. He was also an external reviewer in
                  222:08      Cathrine's re-review?
                  222:09 A. Right, uh-huh.
                  222:10 Q. I want to direct your attention to the
                  222:11      second page, the second full paragraph.
                  222:12      Do you see that?
                  222:13 A. Yes, uh-huh.
                  222:14 Q. And this one is a little long, so I
                  222:15      apologize in advance.
                  222:16 A. Oh, wait. Is it the second page or the
                  222:17      first page?
                  222:18 Q. The second page, it starts with
                  222:19      "the two books." Do you see that?
                  222:20 A. Okay.
                  222:21 Q. Are you seeing that?
                  222:22 A. Is it this one, right?
223:04 - 226:19   Fierro, Annette 2022-08-11                                      00:03:58   AF_FINAL.44
                  223:04      BY MS. KLIMENT:
                  223:05 Q. "The two books on Bo Bardi are thorough
                  223:06      presentations of an intriguing architect of the
                  223:07      late modern era. Like most of Ms. Veikos's
                  223:08      other writing, the subject is both important and
                  223:09      timely, but the significance of her insights or
                  223:10      scholarship is limited. Miss Veikos's extensive
                  223:11      writing on Bo Bardi tends to be descriptive and
                  223:12      explanatory rather than analytical or
                  223:13      speculative. While she is thorough and
                  223:14      scrupulous in her research, her writing does not
                  223:15      open up significant historical or theoretical
                  223:16      questions about Bo Bardi's work, such as how her
                  223:17      unique status and background may refine our
                  223:18      understanding of the political eﬀect of modern

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              223:19      architecture or how Brazilian modernism may have
              223:20      developed or produced alternative traditions or
              223:21      methods. In general, Miss Veikos's work tends
              223:22      to reiterate the writings of others and to
              223:23      suggest aﬀiliations rather than construct
              223:24      arguments or rigorous readings of the archival
              224:01      material."
              224:02      Do you see that?
              224:03 A. Are you going to read the last sentence,
              224:04      which is much more complimentary?
              224:05 Q. We can. But do you see that?
              224:06 A. I do.
              224:07 Q. And then the next paragraph says,
              224:08      "Overall Miss Veikos has produced work of a
              224:09      quality that is rare among design faculty in
              224:10      schools of architecture, though as scholarship
              224:11      the work does not compare favorably to others in
              224:12      the field of history and theory."
              224:13      Do you see that?
              224:14 A. Yes, uh-huh.
              224:15 Q. The comments that I just read to you
              224:16      from the last three exhibits, would you agree
              224:17      that they are critical?
              224:18 A. They are critical, I would say. Do they
              224:19      close a case? No, because each one of these
              224:20      goes on to say something positive. So they are
              224:21      taken out of context a bit. Wouldn't you agree?
              224:22      Because he goes on to say,
              224:23      "Nevertheless, her careful presentation of
              224:24      Bo Bardi's work and its place in the
              225:01      international spread of modernist design oﬀer
              225:02      important contributions to the field. The
              225:03      translation of Bo Bardi's 1957 thesis is in
              225:04      itself a significant resource for an English
              225:05      speaking audience."
              225:06 Q. Do you think it is fair that someone
              225:07      could read these comments and find them to be
              225:08      negative or critical?
              225:09 A. If they were looking for it, sure, yeah.
              225:10 Q. Well, also in the inverse, you could be
              225:11      looking for the positive; right?
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                  225:12 A. Always. Always.
                  225:13 Q. At the time of the re-review, the
                  225:14      reviewers would have been aware that Routledge
                  225:15      had committed to publish Cathrine's manuscript;
                  225:16      right?
                  225:17 A. I hope so. You know, that one note
                  225:18      about the incomplete nature of the manuscript is
                  225:19      a bit troubling in that respect.
                  225:20 Q. Do you have any reason to believe that
                  225:21      they did not other than that comment?
                  225:22 A. I don't.
                  225:23 Q. Do you have any recollection of concerns
                  225:24      during the re-review that the reviewers did not
                  226:01      know that Cathrine had received a commitment to
                  226:02      publish her book?
                  226:03 A. I don't remember that coming up, no.
                  226:04 Q. And during the re-review, Cathrine could
                  226:05      have indicated on her CV that she had received a
                  226:06      commitment to publish the book; right?
                  226:07 A. Yes, uh-huh.
                  226:08 Q. All of the reviewers during the
                  226:09      re-review also would have been aware of her
                  226:10      extension; right?
                  226:11 A. I hope so. I didn't see the letter
                  226:12      requesting, but I would imagine, yes.
                  226:13 Q. Did you have any concerns at the time of
                  226:14      the re-review that external reviewers were not
                  226:15      aware that she had received an extension of her
                  226:16      probationary period?
                  226:17 A. No.
                  226:18 Q. D-12.
                  226:19 A. Again, very diﬀicult to read.
227:01 - 227:20   Fierro, Annette 2022-08-11                                      00:00:43   AF_FINAL.45
                  227:01 Q. Have you had a chance to review it?
                  227:02 A. Yes. And I think you are looking
                  227:03      for "in accordance"?
                  227:04 Q. Yes. You can read that sentence.
                  227:05 A. It talks about how she was granted an
                  227:06      extension to the mandatory review period for
                  227:07      family leave, yes.

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                  227:08 Q. And that is the language that you had
                  227:09      testified earlier that should be in a
                  227:10      solicitation letter to an external reviewer,
                  227:11      right?
                  227:12 A. According to the regulations of the
                  227:13      university, yes.
                  227:14 Q. So the criticisms that I read to you
                  227:15      earlier by external reviewers were made at a
                  227:16      time that they had information about the
                  227:17      commitment of Routledge to publish Cathrine's
                  227:18      book, and also with the knowledge that she had
                  227:19      received an extension; right?
                  227:20 A. Uh-huh.
227:24 - 229:01   Fierro, Annette 2022-08-11                                    00:01:03   AF_FINAL.46
                  227:24 Q. Counsel asked you about some other
                  228:01      tenure decisions, so I want to inquire about
                  228:02      that a little bit.
                  228:03      You voted on approximately nine
                  228:04      tenure cases --
                  228:05 A. Yes.
                  228:06 Q. -- during your time at Penn?
                  228:07 A. Uh-huh.
                  228:08 Q. When voting, you wouldn't vote in favor
                  228:09      unless you felt that the candidate met
                  228:10      qualifications for tenure; right?
                  228:11 A. No.
                  228:12 Q. Is it fair to say that tenured faculty
                  228:13      members can have diﬀering opinions about a
                  228:14      candidate's qualifications?
                  228:15 A. Of course.
                  228:16 Q. You have disagreed with some of your
                  228:17      colleague's assessments of tenure candidates
                  228:18      before and a er Cathrine Veikos; right?
                  228:19 A. Yes, I have.
                  228:20 Q. And the disagreements that you had --
                  228:21      actually, strike that.
                  228:22      When you had those disagreements,
                  228:23      they were based on the merits of the case from
                  228:24      your perspective?
                  229:01 A. Yes, with qualifications.

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231:15 - 232:11   Fierro, Annette 2022-08-11                                     00:00:41   AF_FINAL.47
                  231:15 Q. You testified earlier about Ali Rahim's
                  231:16      tenure review. Do you recall that?
                  231:17 A. Yes.
                  231:18 Q. And I believe you testified, but if not,
                  231:19      I will make sure, Ali Rahim is male?
                  231:20 A. Yes.
                  231:21 Q. And you voted in favor of Ali?
                  231:22 A. I did, uh-huh.
                  231:23 Q. So you believe he too was qualified for
                  231:24      tenure?
                  232:01 A. Yes, according to the evidence.
                  232:02 Q. David Leatherbarrow voted against Ali
                  232:03      Rahim, didn't he?
                  232:04 A. Oh, yes.
                  232:05 Q. And he, at the time, David Leatherbarrow
                  232:06      was also the chair of the personnel committee?
                  232:07 A. That's right.
                  232:08 Q. And he wrote a negative letter saying
                  232:09      that he could not give an unqualified
                  232:10      recommendation for Ali Rahim?
                  232:11 A. That's right.
234:03 - 234:04   Fierro, Annette 2022-08-11                                     00:00:07   AF_FINAL.48
                  234:03 Q. During your earlier testimony, you
                  234:04      referenced some comments that were made.
234:11 - 235:19   Fierro, Annette 2022-08-11                                     00:01:19   AF_FINAL.57
                  234:11 Q. Comments by David Leatherbarrow
                  234:12      regarding you traveling to Japan?
                  234:13 A. Yes.
                  234:14 Q. Asking you to do research while you were
                  234:15      on leave?
                  234:16 A. Right.
                  234:17 Q. When were those comments made?
                  234:18 A. Well, I was eight months pregnant, so
                  234:19      that would have been December 1996. Adele
                  234:20      Santos, I had just come on the, onto the
                  234:21      faculty, so it would have been '93 to '95. As I
                  234:22      said, I heard it more than once.
                  234:23 Q. So they were made in the 1990s?
                  234:24 A. Yes.

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                  235:01 Q. They were made about 10 to 20 years
                  235:02     before Cathrine went up for tenure?
                  235:03 A. She went up in 2011, so that would have
                  235:04     been twelve years, 13 years.
                  235:05 Q. None of the comments that you identified
                  235:06     were made to or about Cathrine; right?
                  235:07 A. No.
                  235:08 Q. And none of them were made during
                  235:09     Cathrine's tenure review?
                  235:10 A. About Cathrine or about me?
                  235:11 Q. Yeah, the comments that you had
                  235:12     referenced --
                  235:13 A. Right.
                  235:14 Q. -- from 1993 to 1996 --
                  235:15 A. Right.
                  235:16 Q. -- they were not made while Cathrine was
                  235:17     being reviewed for tenure; right?
                  235:18 A. No, but I was speaking to the general
                  235:19     culture and awareness of the faculty.
237:08 - 238:18   Fierro, Annette 2022-08-11                                   00:01:27   AF_FINAL.49
                  237:08 Q. Just a couple questions before we wrap
                  237:09     up, Professor Fierro.
                  237:10     At the time of your tenure review,
                  237:11     was Bill Braham the chair?
                  237:12 A. No. David Leatherbarrow was the chair
                  237:13     and then -- for the appointment. And then
                  237:14     Richard Wesley was actually the acting chair,
                  237:15     right.
                  237:16 Q. So as of your tenure review, so the time
                  237:17     that the faculty was voting on your case --
                  237:18 A. Yes, Richard Wesley was the chair then.
                  237:19 Q. So it wasn't Bill Braham?
                  237:20 A. No.
                  237:21 Q. And it wasn't David Leatherbarrow?
                  237:22 A. No.
                  237:23 Q. When counsel was questioning you about
                  237:24     the time you took oﬀ when you had your
                  238:01     children --
                  238:02 A. Yes.
                  238:03 Q. -- and there was some questioning around

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                  238:04     Professor Leatherbarrow supporting you, I think
                  238:05     you said "not entirely" that he supported you.
                  238:06 A. Right.
                  238:07 Q. Could you elaborate on what you meant?
                  238:08 A. Well, it is almost admitting how naive I
                  238:09     was. He gave me a semester oﬀ, but I agreed to
                  238:10     teach extra a erwards, not understanding what
                  238:11     that was going to be like. So I was teaching
                  238:12     extra to try to make up for that semester
                  238:13     because I, you know, thought I owed it to the
                  238:14     department. And, you know, I almost ended up in
                  238:15     the hospital because I was so exhausted.
                  238:16 Q. When you say you taught more, was that
                  238:17     at somebody's request?
                  238:18 A. David's.
240:23 - 241:15   Fierro, Annette 2022-08-11                                    00:00:44   AF_FINAL.50
                  240:23 A. Oh, yes.
                  240:24 Q. And he was the chair in charge of
                  241:01     Cathrine's re-review; correct?
                  241:02 A. That's right, uh-huh.
                  241:03 Q. So he would have been the one to pick
                  241:04     the external reviewers?
                  241:05 A. That's right.
                  241:06 Q. There was some questioning about the
                  241:07     letter from Professor Cohen.
                  241:08 A. Yes.
                  241:09 Q. You wanted to elaborate a little bit on
                  241:10     counsel's questions about there were some
                  241:11     negative comments in the letter. And I wanted
                  241:12     to give you a chance to tell the jury what you
                  241:13     thought of Professor Cohen's position on
                  241:14     Cathrine Veikos's qualifications without having
                  241:15     to respond to counsel's direction?
241:19 - 241:20   Fierro, Annette 2022-08-11                                    00:00:05   AF_FINAL.51
                  241:19 Q. In other words, how did you interpret
                  241:20     this letter as an external review letter?
241:22 - 243:05   Fierro, Annette 2022-08-11                                    00:01:31   AF_FINAL.52
                  241:22     THE WITNESS: I mean I suppose it's
                  241:23     my job to understand like these kinds of
                  241:24     critical readings. That's how I evaluate people
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                  242:01     who apply for positions. That's how I evaluate
                  242:02     writings that I am asked to read. So I don't
                  242:03     think it is actually outside of my purview of
                  242:04     expertise. I thought, first of all, the letter
                  242:05     was very short. I wondered how much time he had
                  242:06     spent on it. Jean-Louis Cohen is known for
                  242:07     being extremely prolific. The joke is that he
                  242:08     writes every introduction to every big book out
                  242:09     there. It is like how on earth does he do all
                  242:10     this.
                  242:11     He noted that Bo Bardi's earlier
                  242:12     experience in Italy, these texts would reveal to
                  242:13     the public the intensity of the theoretical
                  242:14     critical conversation on architecture that
                  242:15     developed in Brazil from the 1940s onward.
                  242:16     I mean I know Cathrine talked about
                  242:17     that in the introduction. She went to great
                  242:18     lengths to find, you know, all of the diﬀerent
                  242:19     kinds of connections. So I don't think that's
                  242:20     quite accurate.
                  242:21     And then the incomplete status of
                  242:22     her introduction, I think we've heard from many
                  242:23     other letters that that, that that introduction
                  242:24     was book length, and if anything it had too many
                  243:01     references that needed to be structured more.
                  243:02     So I don't think that was accurate either.
                  243:03     I mean that's my own kind of read
                  243:04     on this letter as an architectural professor at
                  243:05     the University of Pennsylvania.
243:07 - 244:15   Fierro, Annette 2022-08-11                                     00:01:20   AF_FINAL.53
                  243:07 Q. Let's take a look also at Mark Linder's
                  243:08     letter, that was D-11.
                  243:09 A. Right.
                  243:10 Q. I was interested in the questioning
                  243:11     around that second page, the last paragraph of
                  243:12     that letter. We will wait until you have it in
                  243:13     front of you.
                  243:14 A. Okay.
                  243:15 Q. I might need my glasses for this one.
                  243:16     So that last paragraph of Professor

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                  243:17      Linder's letter, I think counsel directed you to
                  243:18      the sentence that says, "Overall Miss Veikos has
                  243:19      produced work of a quality that is rare among
                  243:20      design faculty and schools of architecture,
                  243:21      though as scholarship the work does not compare
                  243:22      favorably to others in the fields of history and
                  243:23      theory."
                  243:24      But was she in the field of history
                  244:01      and theory?
                  244:02 A. No. She was in visual studies.
                  244:03 Q. Counsel was asking you some questions
                  244:04      about when you have had, you as a voting member
                  244:05      of the faculty, had disagreements with other
                  244:06      members of the voting faculty about a tenure
                  244:07      candidate.
                  244:08 A. Right.
                  244:09 Q. You, I think, can confirm that o en it
                  244:10      is about their qualifications?
                  244:11 A. Right.
                  244:12 Q. But you indicated, I think, that it is a
                  244:13      gray area, but were cut oﬀ from elaborating on
                  244:14      that. Would you like to elaborate on your
                  244:15      response?
244:17 - 245:15   Fierro, Annette 2022-08-11                                      00:01:17   AF_FINAL.54
                  244:17      THE WITNESS: When we vote on
                  244:18      tenure, we are also voting on things like what
                  244:19      the school needs. We're voting on the addition
                  244:20      to the curriculum. We're voting on the addition
                  244:21      of material that may not mean much to someone
                  244:22      else, but material which one might feel is very
                  244:23      important.
                  244:24      Helene Furjan, for example, had
                  245:01      resuscitated a decades dead journal called Via
                  245:02      and had done so in a magnificent way. She got
                  245:03      it published by MIT.
                  245:04      And I sort of wonder at how much
                  245:05      weight those things are really given. The kind
                  245:06      of extra human eﬀort that people go through
                  245:07      that we are privy to on the inside. And I think
                  245:08      we are all vacillating on ways to regard

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                  245:09    candidates and certainly at the department level
                  245:10    it doesn't depend entirely on the external
                  245:11    letters.
                  245:12    In fact, usually the things that
                  245:13    the external letters say are trying to be worked
                  245:14    around. And depending on whether there is a
                  245:15    positive view of the candidate.
247:08 - 247:09   Fierro, Annette 2022-08-11                                     00:00:02   AF_FINAL.55
                  247:08    MS. UEBLER: Thank you. I don't
                  247:09    have anything further.



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